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Vendor# Vendor Name                                       Invoice#
48522 ADVANCED PAIN MANAGEMENT                            23FPPSE201
48522 ADVANCED PAIN MANAGEMENT                            23IPPSE201
48522 ADVANCED PAIN MANAGEMENT                            23P1PSE201
48522 ADVANCED PAIN MANAGEMENT                            23P2PSE201
86262 ALLIANCE FOR PATIENT ACCESS                         CR5034
86262 ALLIANCE FOR PATIENT ACCESS                         CR5086
86262 ALLIANCE FOR PATIENT ACCESS                         PR1864
86262 ALLIANCE FOR PATIENT ACCESS                         PR5460
86262 ALLIANCE FOR PATIENT ACCESS                         PR6747
86262 ALLIANCE FOR PATIENT ACCESS                         PR6784
86262 ALLIANCE FOR PATIENT ACCESS                         PR8406
86262 ALLIANCE FOR PATIENT ACCESS                         PR9705
86262 ALLIANCE FOR PATIENT ACCESS                         S 010614 1
86262 ALLIANCE FOR PATIENT ACCESS                         S 051513001
79443 AMERICAN ACADEMY OF HOSPICE & PALLIATIVE MEDICINE   0000025366
79443 AMERICAN ACADEMY OF HOSPICE & PALLIATIVE MEDICINE   1000101161
79443 AMERICAN ACADEMY OF HOSPICE & PALLIATIVE MEDICINE   1000101161
79443 AMERICAN ACADEMY OF HOSPICE & PALLIATIVE MEDICINE   1000101161
79443 AMERICAN ACADEMY OF HOSPICE & PALLIATIVE MEDICINE   20472
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 16352
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 24768
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 58221
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 582221
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 596572
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 600082-PT
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 6117
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 7939
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 8837
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 CORPMEM1112
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 CR4938
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 CR4939
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 CR5003
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 CR5007
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 CR5483
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 CR5484
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 CRS.148842
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 CRS.149024
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 PR1980
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 PR1987
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 PR2213
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 PR2216
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 PR6698
70953 AMERICAN ACADEMY OF PAIN MANAGEMENT                 PR6705
71343 AMERICAN ACADEMY OF PAIN MEDICINE                   1000022848
71343 AMERICAN ACADEMY OF PAIN MEDICINE                   1000024092
71343 AMERICAN ACADEMY OF PAIN MEDICINE                   1000027114
71343 AMERICAN ACADEMY OF PAIN MEDICINE                   1000032885
71343 AMERICAN ACADEMY OF PAIN MEDICINE                   15078A
71343 AMERICAN ACADEMY OF PAIN MEDICINE                   15218A
71343 AMERICAN ACADEMY OF PAIN MEDICINE                   16526
71343 AMERICAN ACADEMY OF PAIN MEDICINE                   18138
71343 AMERICAN ACADEMY OF PAIN MEDICINE                   20700
71343 AMERICAN ACADEMY OF PAIN MEDICINE                   20982
71343 AMERICAN ACADEMY OF PAIN MEDICINE                   23092
71343 AMERICAN ACADEMY OF PAIN MEDICINE                   23240
71343 AMERICAN ACADEMY OF PAIN MEDICINE                   25106
71343 AMERICAN ACADEMY OF PAIN MEDICINE                   25106
71343 AMERICAN ACADEMY OF PAIN MEDICINE                   25106
71343 AMERICAN ACADEMY OF PAIN MEDICINE                   25322
71343 AMERICAN ACADEMY OF PAIN MEDICINE                   5947125
71343 AMERICAN ACADEMY OF PAIN MEDICINE                   9085
71343 AMERICAN ACADEMY OF PAIN MEDICINE                   9803
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71343   AMERICAN ACADEMY OF PAIN MEDICINE    CR4935
71343   AMERICAN ACADEMY OF PAIN MEDICINE    CR4936
71343   AMERICAN ACADEMY OF PAIN MEDICINE    CR4937
71343   AMERICAN ACADEMY OF PAIN MEDICINE    CR4941
71343   AMERICAN ACADEMY OF PAIN MEDICINE    CR5027
71343   AMERICAN ACADEMY OF PAIN MEDICINE    CRS.151225
71343   AMERICAN ACADEMY OF PAIN MEDICINE    PR1976
71343   AMERICAN ACADEMY OF PAIN MEDICINE    PR2211
71343   AMERICAN ACADEMY OF PAIN MEDICINE    PR4012
71343   AMERICAN ACADEMY OF PAIN MEDICINE    PR4012
71343   AMERICAN ACADEMY OF PAIN MEDICINE    PR4012
71343   AMERICAN ACADEMY OF PAIN MEDICINE    PR6696
71343   AMERICAN ACADEMY OF PAIN MEDICINE    PR6748
71346   AMERICAN CHRONIC PAIN ASSOCIATION    200080056
71346   AMERICAN CHRONIC PAIN ASSOCIATION    200080056A
71346   AMERICAN CHRONIC PAIN ASSOCIATION    200080057
71346   AMERICAN CHRONIC PAIN ASSOCIATION    200080078
71346   AMERICAN CHRONIC PAIN ASSOCIATION    20120202
71346   AMERICAN CHRONIC PAIN ASSOCIATION    20150925
71346   AMERICAN CHRONIC PAIN ASSOCIATION    20150925
71346   AMERICAN CHRONIC PAIN ASSOCIATION    20150925
71346   AMERICAN CHRONIC PAIN ASSOCIATION    20414
71346   AMERICAN CHRONIC PAIN ASSOCIATION    21478
71346   AMERICAN CHRONIC PAIN ASSOCIATION    23156
71346   AMERICAN CHRONIC PAIN ASSOCIATION    24160
71346   AMERICAN CHRONIC PAIN ASSOCIATION    24674
71346   AMERICAN CHRONIC PAIN ASSOCIATION    24828
71346   AMERICAN CHRONIC PAIN ASSOCIATION    24928
71346   AMERICAN CHRONIC PAIN ASSOCIATION    26548
71346   AMERICAN CHRONIC PAIN ASSOCIATION    8197
71346   AMERICAN CHRONIC PAIN ASSOCIATION    8433
71346   AMERICAN CHRONIC PAIN ASSOCIATION    8867
71346   AMERICAN CHRONIC PAIN ASSOCIATION    9741
71346   AMERICAN CHRONIC PAIN ASSOCIATION    CR5005
71346   AMERICAN CHRONIC PAIN ASSOCIATION    CRS.149023
71346   AMERICAN CHRONIC PAIN ASSOCIATION    PR11283
71346   AMERICAN CHRONIC PAIN ASSOCIATION    PR1561
71346   AMERICAN CHRONIC PAIN ASSOCIATION    PR1671
71346   AMERICAN CHRONIC PAIN ASSOCIATION    PR1671
71346   AMERICAN CHRONIC PAIN ASSOCIATION    PR1852
71346   AMERICAN CHRONIC PAIN ASSOCIATION    PR1863
71346   AMERICAN CHRONIC PAIN ASSOCIATION    PR2709
71346   AMERICAN CHRONIC PAIN ASSOCIATION    PR5863
71346   AMERICAN CHRONIC PAIN ASSOCIATION    PR5863
71346   AMERICAN CHRONIC PAIN ASSOCIATION    PR5863
71346   AMERICAN CHRONIC PAIN ASSOCIATION    PR6690
71346   AMERICAN CHRONIC PAIN ASSOCIATION    PR9298
73129   AMERICAN PAIN FOUNDATION             114-2012
71350   AMERICAN PAIN SOCIETY                04/23/12CHREQ
71350   AMERICAN PAIN SOCIETY                086076015077501
71350   AMERICAN PAIN SOCIETY                1000034366
71350   AMERICAN PAIN SOCIETY                1000038088
71350   AMERICAN PAIN SOCIETY                10201401136
71350   AMERICAN PAIN SOCIETY                10201401137
71350   AMERICAN PAIN SOCIETY                10201401138
71350   AMERICAN PAIN SOCIETY                10201401139
71350   AMERICAN PAIN SOCIETY                110315
71350   AMERICAN PAIN SOCIETY                11131133
71350   AMERICAN PAIN SOCIETY                11131202
71350   AMERICAN PAIN SOCIETY                11131203
71350   AMERICAN PAIN SOCIETY                131184116350501
71350   AMERICAN PAIN SOCIETY                143682000000000
71350   AMERICAN PAIN SOCIETY                16092
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71350   AMERICAN PAIN SOCIETY                17576
71350   AMERICAN PAIN SOCIETY                201506130
71350   AMERICAN PAIN SOCIETY                201506131
71350   AMERICAN PAIN SOCIETY                20768
71350   AMERICAN PAIN SOCIETY                20768
71350   AMERICAN PAIN SOCIETY                20768
71350   AMERICAN PAIN SOCIETY                21754
71350   AMERICAN PAIN SOCIETY                23508
71350   AMERICAN PAIN SOCIETY                23746
71350   AMERICAN PAIN SOCIETY                23984
71350   AMERICAN PAIN SOCIETY                25246
71350   AMERICAN PAIN SOCIETY                25354
71350   AMERICAN PAIN SOCIETY                3201400125
71350   AMERICAN PAIN SOCIETY                7287
71350   AMERICAN PAIN SOCIETY                7345
71350   AMERICAN PAIN SOCIETY                8697
71350   AMERICAN PAIN SOCIETY                9201400577
71350   AMERICAN PAIN SOCIETY                9201400578
71350   AMERICAN PAIN SOCIETY                9201400579
71350   AMERICAN PAIN SOCIETY                9469
71350   AMERICAN PAIN SOCIETY                9825
71350   AMERICAN PAIN SOCIETY                CR4499
71350   AMERICAN PAIN SOCIETY                CR4500
71350   AMERICAN PAIN SOCIETY                CR4645
71350   AMERICAN PAIN SOCIETY                CR4657
71350   AMERICAN PAIN SOCIETY                CR4695
71350   AMERICAN PAIN SOCIETY                CR4697
71350   AMERICAN PAIN SOCIETY                CR4930
71350   AMERICAN PAIN SOCIETY                CR4932
71350   AMERICAN PAIN SOCIETY                CR4933
71350   AMERICAN PAIN SOCIETY                CR4934
71350   AMERICAN PAIN SOCIETY                CR5127
71350   AMERICAN PAIN SOCIETY                CR5533
71350   AMERICAN PAIN SOCIETY                CR7664
71350   AMERICAN PAIN SOCIETY                CRS.142329
71350   AMERICAN PAIN SOCIETY                CRS.142803
71350   AMERICAN PAIN SOCIETY                PR1979
71350   AMERICAN PAIN SOCIETY                PR1981
71350   AMERICAN PAIN SOCIETY                PR1982
71350   AMERICAN PAIN SOCIETY                PR1983
71350   AMERICAN PAIN SOCIETY                PR1984
71350   AMERICAN PAIN SOCIETY                PR1985
71350   AMERICAN PAIN SOCIETY                PR1986
71350   AMERICAN PAIN SOCIETY                PR2104
71350   AMERICAN PAIN SOCIETY                PR2206
71350   AMERICAN PAIN SOCIETY                PR6477
71350   AMERICAN PAIN SOCIETY                PR6695
18958   AMERICAN PHARMACISTS ASSOCIATION     012743906360501
18958   AMERICAN PHARMACISTS ASSOCIATION     021073008182501
18958   AMERICAN PHARMACISTS ASSOCIATION     021073108182501
18958   AMERICAN PHARMACISTS ASSOCIATION     021073208182501
18958   AMERICAN PHARMACISTS ASSOCIATION     029591513004501
18958   AMERICAN PHARMACISTS ASSOCIATION     030258105344501
18958   AMERICAN PHARMACISTS ASSOCIATION     033101917225501
18958   AMERICAN PHARMACISTS ASSOCIATION     033102017225501
18958   AMERICAN PHARMACISTS ASSOCIATION     033102117225501
18958   AMERICAN PHARMACISTS ASSOCIATION     033102217225501
18958   AMERICAN PHARMACISTS ASSOCIATION     036110312165501
18958   AMERICAN PHARMACISTS ASSOCIATION     052591916192501
18958   AMERICAN PHARMACISTS ASSOCIATION     052618009268501
18958   AMERICAN PHARMACISTS ASSOCIATION     052808717168501
18958   AMERICAN PHARMACISTS ASSOCIATION     054558309280501
18958   AMERICAN PHARMACISTS ASSOCIATION     054558409280501
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18958   AMERICAN PHARMACISTS ASSOCIATION     055700208295501
18958   AMERICAN PHARMACISTS ASSOCIATION     058393916329501
18958   AMERICAN PHARMACISTS ASSOCIATION     059172615172501
18958   AMERICAN PHARMACISTS ASSOCIATION     060231611068501
18958   AMERICAN PHARMACISTS ASSOCIATION     061149517172501
18958   AMERICAN PHARMACISTS ASSOCIATION     062817408281501
18958   AMERICAN PHARMACISTS ASSOCIATION     064595409149501
18958   AMERICAN PHARMACISTS ASSOCIATION     066610715143501
18958   AMERICAN PHARMACISTS ASSOCIATION     067290208305501
18958   AMERICAN PHARMACISTS ASSOCIATION     070415916181501
18958   AMERICAN PHARMACISTS ASSOCIATION     070716717194501
18958   AMERICAN PHARMACISTS ASSOCIATION     073538608276501
18958   AMERICAN PHARMACISTS ASSOCIATION     073538708276501
18958   AMERICAN PHARMACISTS ASSOCIATION     075485706238501
18958   AMERICAN PHARMACISTS ASSOCIATION     075722615028501
18958   AMERICAN PHARMACISTS ASSOCIATION     076825507262501
18958   AMERICAN PHARMACISTS ASSOCIATION     077233306231501
18958   AMERICAN PHARMACISTS ASSOCIATION     081894805232501
18958   AMERICAN PHARMACISTS ASSOCIATION     093445812353501
18958   AMERICAN PHARMACISTS ASSOCIATION     094733905348501
18958   AMERICAN PHARMACISTS ASSOCIATION     10/29/03
18958   AMERICAN PHARMACISTS ASSOCIATION     1000751548
18958   AMERICAN PHARMACISTS ASSOCIATION     1000783435
18958   AMERICAN PHARMACISTS ASSOCIATION     1000875156
18958   AMERICAN PHARMACISTS ASSOCIATION     1000933613
18958   AMERICAN PHARMACISTS ASSOCIATION     107991705281501
18958   AMERICAN PHARMACISTS ASSOCIATION     117244617153501
18958   AMERICAN PHARMACISTS ASSOCIATION     122014144
18958   AMERICAN PHARMACISTS ASSOCIATION     127750817060501
18958   AMERICAN PHARMACISTS ASSOCIATION     129221116245501
18958   AMERICAN PHARMACISTS ASSOCIATION     131445014206501
18958   AMERICAN PHARMACISTS ASSOCIATION     134194713165501
18958   AMERICAN PHARMACISTS ASSOCIATION     140867816266501
18958   AMERICAN PHARMACISTS ASSOCIATION     140867916266501
18958   AMERICAN PHARMACISTS ASSOCIATION     17968
18958   AMERICAN PHARMACISTS ASSOCIATION     18326
18958   AMERICAN PHARMACISTS ASSOCIATION     8/18/04
18958   AMERICAN PHARMACISTS ASSOCIATION     8619
18958   AMERICAN PHARMACISTS ASSOCIATION     8909
18958   AMERICAN PHARMACISTS ASSOCIATION     9.52419E+13
18958   AMERICAN PHARMACISTS ASSOCIATION     9/07REVIEW
18958   AMERICAN PHARMACISTS ASSOCIATION     CFPS 2006 FEE
18958   AMERICAN PHARMACISTS ASSOCIATION     CHREQ 9/12/08
18958   AMERICAN PHARMACISTS ASSOCIATION     CR2034
18958   AMERICAN PHARMACISTS ASSOCIATION     CRS.102915
18958   AMERICAN PHARMACISTS ASSOCIATION     CRS.102915
18958   AMERICAN PHARMACISTS ASSOCIATION     CRS.102915
18958   AMERICAN PHARMACISTS ASSOCIATION     CRS.102915
18958   AMERICAN PHARMACISTS ASSOCIATION     CRS.102915
18958   AMERICAN PHARMACISTS ASSOCIATION     CRS.102916
18958   AMERICAN PHARMACISTS ASSOCIATION     CRS.102916
18958   AMERICAN PHARMACISTS ASSOCIATION     CRS.102916
18958   AMERICAN PHARMACISTS ASSOCIATION     CRS.102916
18958   AMERICAN PHARMACISTS ASSOCIATION     CRS.102916
18958   AMERICAN PHARMACISTS ASSOCIATION     CRS.102927
18958   AMERICAN PHARMACISTS ASSOCIATION     CRS.102927
18958   AMERICAN PHARMACISTS ASSOCIATION     CRS.102927
18958   AMERICAN PHARMACISTS ASSOCIATION     CRS.102927
18958   AMERICAN PHARMACISTS ASSOCIATION     CRS.102927
18958   AMERICAN PHARMACISTS ASSOCIATION     CRS.148415
18958   AMERICAN PHARMACISTS ASSOCIATION     CRS.152584
18958   AMERICAN PHARMACISTS ASSOCIATION     CRS.54884
18958   AMERICAN PHARMACISTS ASSOCIATION     CRS.58554
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18958   AMERICAN PHARMACISTS ASSOCIATION              CRS.68930
18958   AMERICAN PHARMACISTS ASSOCIATION              CRS.81785
18958   AMERICAN PHARMACISTS ASSOCIATION              IVC00000000006479
18958   AMERICAN PHARMACISTS ASSOCIATION              IVC00000000007103
18958   AMERICAN PHARMACISTS ASSOCIATION              IVC00000000007335
18958   AMERICAN PHARMACISTS ASSOCIATION              IVC4971
18958   AMERICAN PHARMACISTS ASSOCIATION              IVC8437
18958   AMERICAN PHARMACISTS ASSOCIATION              JFPS2012-TEV
18958   AMERICAN PHARMACISTS ASSOCIATION              JFPS2013-TEV
18958   AMERICAN PHARMACISTS ASSOCIATION              RENEWAL 2006
76607   AMERICAN SOCIETY OF CLINICAL ONCOLOGY         05/07/12CHREQ
76607   AMERICAN SOCIETY OF CLINICAL ONCOLOGY         1-13AMIPLANNER
76607   AMERICAN SOCIETY OF CLINICAL ONCOLOGY         134747916176501
76607   AMERICAN SOCIETY OF CLINICAL ONCOLOGY         CM-120
76607   AMERICAN SOCIETY OF CLINICAL ONCOLOGY         CM-129
76607   AMERICAN SOCIETY OF CLINICAL ONCOLOGY         CR6991
76607   AMERICAN SOCIETY OF CLINICAL ONCOLOGY         CR7006
76607   AMERICAN SOCIETY OF CLINICAL ONCOLOGY         DD-126
76607   AMERICAN SOCIETY OF CLINICAL ONCOLOGY         DN-505
76607   AMERICAN SOCIETY OF CLINICAL ONCOLOGY         PR2113
76607   AMERICAN SOCIETY OF CLINICAL ONCOLOGY         PR2277
76607   AMERICAN SOCIETY OF CLINICAL ONCOLOGY         PR2277
76607   AMERICAN SOCIETY OF CLINICAL ONCOLOGY         PR3819
76607   AMERICAN SOCIETY OF CLINICAL ONCOLOGY         PR4927
76607   AMERICAN SOCIETY OF CLINICAL ONCOLOGY         PR5407
76607   AMERICAN SOCIETY OF CLINICAL ONCOLOGY         PR6767
76607   AMERICAN SOCIETY OF CLINICAL ONCOLOGY         PR7543
87031   AMERICAN SOCIETY OF PAIN MANAGEMENT NURSING   10/28/13CHREQ
41020   CANCERCARE MANITOBA                           01-OCT-2010
41020   CANCERCARE MANITOBA                           02/12/2018
41020   CANCERCARE MANITOBA                           03/02/2017
41020   CANCERCARE MANITOBA                           03/02/2017
41020   CANCERCARE MANITOBA                           03/02/2017
41020   CANCERCARE MANITOBA                           03/23/2017
41020   CANCERCARE MANITOBA                           03/23/2017A
41020   CANCERCARE MANITOBA                           03/23/2017BA
41020   CANCERCARE MANITOBA                           04/08/2016
41020   CANCERCARE MANITOBA                           04/08/2016A
41020   CANCERCARE MANITOBA                           04/12/2017
41020   CANCERCARE MANITOBA                           05-AUG-2011
41020   CANCERCARE MANITOBA                           05-AUG-2011
41020   CANCERCARE MANITOBA                           06/18/2015
41020   CANCERCARE MANITOBA                           07-APR-2011
41020   CANCERCARE MANITOBA                           07-APR-2011A
41020   CANCERCARE MANITOBA                           07-JUN-2012
41020   CANCERCARE MANITOBA                           07/24/2015
41020   CANCERCARE MANITOBA                           07/27/2017
41020   CANCERCARE MANITOBA                           08/11/2016
41020   CANCERCARE MANITOBA                           09/22/2016
41020   CANCERCARE MANITOBA                           11/11/2015
41020   CANCERCARE MANITOBA                           11/11/2015A
41020   CANCERCARE MANITOBA                           11/15/2017
41020   CANCERCARE MANITOBA                           111007112155
41020   CANCERCARE MANITOBA                           12-JUL-2010
41020   CANCERCARE MANITOBA                           120116085704
41020   CANCERCARE MANITOBA                           120410080643
41020   CANCERCARE MANITOBA                           120712080606
41020   CANCERCARE MANITOBA                           121012083010
41020   CANCERCARE MANITOBA                           130110162313
41020   CANCERCARE MANITOBA                           130415155258
41020   CANCERCARE MANITOBA                           1312101505
41020   CANCERCARE MANITOBA                           14-FEB-2012
41020   CANCERCARE MANITOBA                           14-MAR-2012
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41020   CANCERCARE MANITOBA                  140227133530
41020   CANCERCARE MANITOBA                  140429100119
41020   CANCERCARE MANITOBA                  140605154224
41020   CANCERCARE MANITOBA                  140827160305
41020   CANCERCARE MANITOBA                  140902105019
41020   CANCERCARE MANITOBA                  140902105134
41020   CANCERCARE MANITOBA                  141114125435
41020   CANCERCARE MANITOBA                  15-APR-2009
41020   CANCERCARE MANITOBA                  15-OCT-2009
41020   CANCERCARE MANITOBA                  17-JAN-2011
41020   CANCERCARE MANITOBA                  180302113648
41020   CANCERCARE MANITOBA                  24-NOV-2008
41020   CANCERCARE MANITOBA                  25-AUG-2011
41020   CANCERCARE MANITOBA                  29-APR-2011
41020   CANCERCARE MANITOBA                  29-APR-2011A
41020   CANCERCARE MANITOBA                  29-APR-2011B
41020   CANCERCARE MANITOBA                  29-APR-2011C
41020   CANCERCARE MANITOBA                  29-APR-2011D
41020   CANCERCARE MANITOBA                  CAF134075
41020   CANCERCARE MANITOBA                  CAF143489
41020   CANCERCARE MANITOBA                  CAF153420
41020   CANCERCARE MANITOBA                  CAF161550
41020   CANCERCARE MANITOBA                  INC0013186
41020   CANCERCARE MANITOBA                  INV0014029
41020   CANCERCARE MANITOBA                  IVC0007108
41020   CANCERCARE MANITOBA                  IVC0007109
41020   CANCERCARE MANITOBA                  IVC0007327
41020   CANCERCARE MANITOBA                  IVC0007596
41020   CANCERCARE MANITOBA                  IVC0007749
41020   CANCERCARE MANITOBA                  IVC0007750
41020   CANCERCARE MANITOBA                  IVC0007826
41020   CANCERCARE MANITOBA                  IVC0007903
41020   CANCERCARE MANITOBA                  IVC0007996
41020   CANCERCARE MANITOBA                  IVC0008056
41020   CANCERCARE MANITOBA                  IVC0008116
41020   CANCERCARE MANITOBA                  IVC0008123
41020   CANCERCARE MANITOBA                  IVC0008240
41020   CANCERCARE MANITOBA                  IVC0008276
41020   CANCERCARE MANITOBA                  IVC0008509
41020   CANCERCARE MANITOBA                  IVC0008546
41020   CANCERCARE MANITOBA                  IVC0008618
41020   CANCERCARE MANITOBA                  IVC0008683
41020   CANCERCARE MANITOBA                  IVC0008684
41020   CANCERCARE MANITOBA                  IVC0008730
41020   CANCERCARE MANITOBA                  IVC0008813
41020   CANCERCARE MANITOBA                  IVC0008844
41020   CANCERCARE MANITOBA                  IVC0008960
41020   CANCERCARE MANITOBA                  IVC0008991
41020   CANCERCARE MANITOBA                  IVC0009104
41020   CANCERCARE MANITOBA                  IVC0009194
41020   CANCERCARE MANITOBA                  IVC0009227
41020   CANCERCARE MANITOBA                  IVC0009229
41020   CANCERCARE MANITOBA                  IVC0009231
41020   CANCERCARE MANITOBA                  IVC0009277
41020   CANCERCARE MANITOBA                  IVC0009413
41020   CANCERCARE MANITOBA                  IVC0009446
41020   CANCERCARE MANITOBA                  IVC0009488
41020   CANCERCARE MANITOBA                  IVC0009747
41020   CANCERCARE MANITOBA                  IVC0009797
41020   CANCERCARE MANITOBA                  IVC0012331
41020   CANCERCARE MANITOBA                  IVC0012337
41020   CANCERCARE MANITOBA                  IVC0012532
41020   CANCERCARE MANITOBA                  IVC0012946
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41020   CANCERCARE MANITOBA                                 IVC0012947
41020   CANCERCARE MANITOBA                                 IVC0013249
41020   CANCERCARE MANITOBA                                 IVC0013250
41020   CANCERCARE MANITOBA                                 IVC0013251
41020   CANCERCARE MANITOBA                                 IVC0013251A
41020   CANCERCARE MANITOBA                                 IVC0013252
41020   CANCERCARE MANITOBA                                 IVC0013636
41020   CANCERCARE MANITOBA                                 IVC0013637
41020   CANCERCARE MANITOBA                                 IVC0013638
41020   CANCERCARE MANITOBA                                 IVC0013638
41020   CANCERCARE MANITOBA                                 IVC0013638
41020   CANCERCARE MANITOBA                                 IVC0013639
41020   CANCERCARE MANITOBA                                 IVC0014028
41020   CANCERCARE MANITOBA                                 IVC0014031
41020   CANCERCARE MANITOBA                                 IVC0014054
41020   CANCERCARE MANITOBA                                 IVC0015745
50559   CENTER FOR PRACTICAL BIOETHICS                      10059
50559   CENTER FOR PRACTICAL BIOETHICS                      9019
50559   CENTER FOR PRACTICAL BIOETHICS                      CR4997
50559   CENTER FOR PRACTICAL BIOETHICS                      CRS.141701
50559   CENTER FOR PRACTICAL BIOETHICS                      CRS.152281
73216   INTERNATIONAL ASSOCIATION FOR THE STUDY OF PAIN     5/18/2015
73216   INTERNATIONAL ASSOCIATION FOR THE STUDY OF PAIN     PR4710
73216   INTERNATIONAL ASSOCIATION FOR THE STUDY OF PAIN     PR8998
74342   MICHAEL J BRENNAN MD LLC                            07/16/13CHREQ
70632   NATIONAL HOSPICE AND PALLIATIVE CARE ORGANIZATION   03/15/13CHREQ
70632   NATIONAL HOSPICE AND PALLIATIVE CARE ORGANIZATION   TEVA1
58984   ONCOLOGY NURSING SOCIETY                            077212416155501
58984   ONCOLOGY NURSING SOCIETY                            1152-1
58984   ONCOLOGY NURSING SOCIETY                            118614215104501
58984   ONCOLOGY NURSING SOCIETY                            119546617207501
58984   ONCOLOGY NURSING SOCIETY                            12ONS-800
58984   ONCOLOGY NURSING SOCIETY                            13ONSCC-CNL
58984   ONCOLOGY NURSING SOCIETY                            14ONS-421
58984   ONCOLOGY NURSING SOCIETY                            14ONS-AD-2
58984   ONCOLOGY NURSING SOCIETY                            14ONS-X
58984   ONCOLOGY NURSING SOCIETY                            15ONS-901
58984   ONCOLOGY NURSING SOCIETY                            19906
58984   ONCOLOGY NURSING SOCIETY                            21208
58984   ONCOLOGY NURSING SOCIETY                            22162
58984   ONCOLOGY NURSING SOCIETY                            23710
58984   ONCOLOGY NURSING SOCIETY                            26058
58984   ONCOLOGY NURSING SOCIETY                            4201400156
58984   ONCOLOGY NURSING SOCIETY                            5201401532
58984   ONCOLOGY NURSING SOCIETY                            5201401533
58984   ONCOLOGY NURSING SOCIETY                            5201401534
58984   ONCOLOGY NURSING SOCIETY                            5201401535
58984   ONCOLOGY NURSING SOCIETY                            5201401536
58984   ONCOLOGY NURSING SOCIETY                            5201401537
58984   ONCOLOGY NURSING SOCIETY                            5201401538
58984   ONCOLOGY NURSING SOCIETY                            5201401539
58984   ONCOLOGY NURSING SOCIETY                            5201401540
58984   ONCOLOGY NURSING SOCIETY                            901064
58984   ONCOLOGY NURSING SOCIETY                            CR7385
58984   ONCOLOGY NURSING SOCIETY                            CRS.101215
58984   ONCOLOGY NURSING SOCIETY                            CRS.123502
58984   ONCOLOGY NURSING SOCIETY                            CRS.127066
58984   ONCOLOGY NURSING SOCIETY                            CRS.127067
58984   ONCOLOGY NURSING SOCIETY                            CRS.90247
58984   ONCOLOGY NURSING SOCIETY                            OG22374
58984   ONCOLOGY NURSING SOCIETY                            PR2839
58984   ONCOLOGY NURSING SOCIETY                            PR5873
58984   ONCOLOGY NURSING SOCIETY                            PR9722
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72747   REFLEX SYMPATHETIC DYSTROPHY SYNDROME ASSOC   CR2070
75631   US PAIN FOUNDATION INC                        100
75631   US PAIN FOUNDATION INC                        20392
75631   US PAIN FOUNDATION INC                        20476
75631   US PAIN FOUNDATION INC                        20478
75631   US PAIN FOUNDATION INC                        20512
75631   US PAIN FOUNDATION INC                        213
75631   US PAIN FOUNDATION INC                        23030
75631   US PAIN FOUNDATION INC                        23128
75631   US PAIN FOUNDATION INC                        24008
75631   US PAIN FOUNDATION INC                        24516
75631   US PAIN FOUNDATION INC                        6785A
75631   US PAIN FOUNDATION INC                        6787A
75631   US PAIN FOUNDATION INC                        6789A
75631   US PAIN FOUNDATION INC                        6791A
75631   US PAIN FOUNDATION INC                        7727
75631   US PAIN FOUNDATION INC                        7867
75631   US PAIN FOUNDATION INC                        8215
75631   US PAIN FOUNDATION INC                        8609
75631   US PAIN FOUNDATION INC                        8613
75631   US PAIN FOUNDATION INC                        9287
75631   US PAIN FOUNDATION INC                        9289
75631   US PAIN FOUNDATION INC                        CR2036
75631   US PAIN FOUNDATION INC                        CR4940
75631   US PAIN FOUNDATION INC                        CR5029
75631   US PAIN FOUNDATION INC                        CR5030
75631   US PAIN FOUNDATION INC                        CR5031
75631   US PAIN FOUNDATION INC                        CR7973
75631   US PAIN FOUNDATION INC                        CRS.141925
75631   US PAIN FOUNDATION INC                        CRS.144242
75631   US PAIN FOUNDATION INC                        CRS.151922
75631   US PAIN FOUNDATION INC                        PR1977
75631   US PAIN FOUNDATION INC                        PR2172
75631   US PAIN FOUNDATION INC                        PR2215
75631   US PAIN FOUNDATION INC                        PR2218
75631   US PAIN FOUNDATION INC                        PR2230
75631   US PAIN FOUNDATION INC                        PR2231
75631   US PAIN FOUNDATION INC                        PR6692
75631   US PAIN FOUNDATION INC                        PR9301
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Invoice Description                                                                                                              Invoice
SPEAR                                                                                                                              10/06/2011
                                                                                                                                   07/24/2009
                                                                                                                                   02/18/2010
SPEAR                                                                                                                              04/27/2011
AfPA Membership                                                                                                                    12/15/2014
CCTA-Membership                                                                                                                    12/17/2014
Membership                                                                                                                         11/16/2015
Sponsorship                                                                                                                        10/05/2016
Corporate Membership                                                                                                               02/07/2017
Advocacy                                                                                                                           02/09/2017
Advocacy                                                                                                                           06/27/2017
MS Sponsorship/Advocacy - Alliance for Patient Access                                                                              11/21/2017
ASSOCIATE SUSTAINING MEMBERSHIP                                                                                                    01/06/2014
SPONSORSHIP SUPPORT FOR RESPIRATORY THERAPY ACCESS PHYSICIAN WORKING GROUP                                                         05/15/2013
APINV-INDUSTRY REL COUNCL MBRSHP                                                                                                   08/21/2012
Consultant fee                                                                                                                     09/26/2013
Consultant fee                                                                                                                     09/26/2013
Consultant fee                                                                                                                     09/26/2013
AAPHM 2015 Annual Assembly                                                                                                         02/20/2015
Quality Improvements for Opioid Pain Management Practical Steps You Can Use Next Week                                              11/07/2013
Chronic Pain and Opioid Use Best Practices in the Current Environment                                                              07/28/2016
APINV-COUNCIL MBMRSHP DUES                                                                                                         01/11/2012
APINV-CORP COUNCIL MBRSHP DUE                                                                                                      01/11/2012
CORPORATE COUNCIL MEMBERSHIP RENEWAL                                                                                               10/15/2013
SUPORT PRODUCT THEATER                                                                                                             05/02/2014
State Pain Policy Advocacy Network SPPAN                                                                                           07/02/2013
Old Friends New Opportunities Policy And Advocacy Collaboration                                                                    09/16/2013
Consumer Advocacy Strategic Planning Meeting For Coordinated Action                                                                02/05/2014
200038-For TN                                                                                                                      11/30/2012
AAPMan Lunch Symposium                                                                                                             12/10/2014
AAPman Hotel Room Key Cards                                                                                                        12/10/2014
AAPMan Membership                                                                                                                  12/12/2014
SPPAN Membership                                                                                                                   12/12/2014
Static Signs f/Meeting Foyer                                                                                                       01/28/2015
Lanyards Exclusive                                                                                                                 01/28/2015
APCHR-Understanding REMS Strategies                                                                                                09/02/2012
APCHR-Truth and Consequences The Effects                                                                                           09/06/2012
Membership                                                                                                                         12/01/2015
Sponsorship                                                                                                                        12/01/2015
Sponsorship                                                                                                                        12/18/2015
Sponsorship                                                                                                                        12/18/2015
Corporate Membership                                                                                                               01/31/2017
CORP MEMBERSHIP                                                                                                                    02/01/2017
For Cephalon Grant 8834                                                                                                            02/02/2012
APINV-AAPM CORP REL COUNCIL                                                                                                        04/26/2012
00006653-0-For TN                                                                                                                  12/20/2012
PREMIER EXECUTIVE CORPORATE RELATIONS COUNCIL 01-APR-2014 TO 31-MAR-2015                                                           12/20/2013
Essential Tools f Standard                                                                                                         03/27/2013
AAPM 29th Annual Meeting                                                                                                           03/27/2013
2013 AAPM Select Lectures for Essential Tools for Treating the Patient in Pain What Every Pain Specialist Needs to Know - PAINWee 08/26/2013
2014 AAPM Essential Tools for Treating the Patient in Pain What Every Primary Care and Pain Specialist Needs to Know               03/03/2014
2015 AAPM 31st Annual Meeting                                                                                                      03/02/2015
2015 Essential Tools for Treating the Patient in Pain                                                                              02/27/2015
2016 American Academy of Pain Medicine 32nd Annual Meeting                                                                         01/11/2016
2016 Essential Tools for Treating the Patient in Pain For Primary Care Providers and Pain Specialists                              01/11/2016
AAPM 33rd Annual Meeting Pain as a Public Health Issue                                                                             10/13/2016
AAPM 33rd Annual Meeting Pain as a Public Health Issue                                                                             10/13/2016
AAPM 33rd Annual Meeting Pain as a Public Health Issue                                                                             10/13/2016
Essential Tools for Treating the Patient in Pain What Every Clinician Treating                                                     11/21/2016
Migraine Guideline Development                                                                                                     05/30/2018
Pain Medicine Phoenix 2014 The Emerging Science Research Of Pain Medicine Celebrating 30 Years On The Frontiers Of Pain Medic 01/29/2014
Primary Care Summit-Phase Two                                                                                                      05/05/2014
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AAPMed Lunch Symposium                                                            12/10/2014
AAPMed Breakfast Symposium                                                        12/10/2014
AAPMed Membership                                                                 12/10/2014
AAPMed Platinum Sponsorship                                                       12/10/2014
AAPMed PCP Summit                                                                 12/15/2014
APCHR-2012 AAPM Primary Care Summit                                               11/08/2012
Membership                                                                        12/01/2015
Sponsorship                                                                       12/18/2015
Sponsorship                                                                       05/19/2016
Sponsorship                                                                       05/19/2016
Sponsorship                                                                       05/19/2016
Corporate Membership                                                              01/31/2017
Conference Sponsorship                                                            02/07/2017
For TN                                                                            01/30/2013
SERVICE FOR TEVA                                                                  07/18/2016
                                                                                  08/23/2016
CORPORATE PARTNER AMBASSADOR LEVEL                                                11/17/2013
APINV-AMBASSADOR MEMBERSHIP                                                       02/02/2012
ACPA EVENT                                                                        09/25/2015
ACPA EVENT                                                                        09/25/2015
ACPA EVENT                                                                        09/25/2015
Vets In Pain                                                                      01/12/2015
Pathways Through Pain                                                             05/11/2015
Vets In Pain                                                                      12/09/2015
Help Hope Learning An Event About Pain Managemen                                  04/01/2016
Vets In Pain                                                                      07/12/2016
Opioid Safety Psa                                                                 07/26/2016
Migraine Discussion Guide Phone App                                               08/26/2016
Understanding Migraines                                                           07/25/2017
Opioid Safety Psa                                                                 09/16/2013
Vets In Pain Vip                                                                  10/23/2013
Dealign with Chronic Pain Family Matters                                          01/17/2014
Persons with Pain and Pharmacists in Partnership                                  04/21/2014
American Chronic Pain Assoc Membership                                            12/12/2014
APCHR-ProActive Communication Kit PACK                                            09/07/2012
Sponsorship                                                                       05/23/2018
American Chronic Pain Assn                                                        10/09/2015
Chronic Pain Awareness Day                                                        10/19/2015
Chronic Pain Awareness Day                                                        10/19/2015
Landscape Strategic Workshop Consultant Payment                                   11/12/2015
Membership                                                                        11/16/2015
support for webpage                                                               02/11/2016
IPMN Meeting-Berlin                                                               11/08/2016
IPMN Meeting-Berlin                                                               11/08/2016
IPMN Meeting-Berlin                                                               11/08/2016
Corporate Membership                                                              01/31/2017
Penney Cowan Reimbursment RE travel accommodation and expenses                    10/03/2017
APINV-2012 CORP MEMB DUES                                                         12/05/2011
SPONSORSHIP                                                                       04/23/2012
EVONNE MATTHEWS                                                                   03/17/2015
APINV-APS CORP COUNCIL                                                            04/26/2012
00003700-0                                                                        02/20/2013
EVONNE MATTHEWS                                                                   09/30/2014
EVONNE MATTHEWS                                                                   09/30/2014
EVONNE MATTHEWS                                                                   09/30/2014
EVONNE MATTHEWS                                                                   09/30/2014
EXHIBT ANNUAL MEETING                                                             11/02/2015
TISH MCCARTER                                                                     10/30/2013
TISH MCCARTER                                                                     10/31/2013
TISH MCCARTER                                                                     10/31/2013
EMATTHEWS-5050                                                                    12/14/2016
TISH MCCARTER                                                                     07/11/2013
Future Leaders in Pain Research Grants Program                                    06/06/2013
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2014 APS 33rd Annual Scientific Meeting                                                     02/18/2014
EVONNE MATTHEWS                                                                             04/17/2015
EVONNE MATTHEWS                                                                             04/17/2015
2015 APS 34th Annual Scientific Meeting                                                     03/10/2015
2015 APS 34th Annual Scientific Meeting                                                     03/10/2015
2015 APS 34th Annual Scientific Meeting                                                     03/10/2015
Pain Care for Primary Care                                                                  07/20/2015
APS 35th Annual Scientific Meeting                                                          02/01/2016
American Pain Society 2016 Fundamentals of Pain Management                                  03/10/2016
American Pain Society 2016 Pain Care for Primary Care                                       03/23/2016
American Pain Society 36th Annual Scientific Meeting                                        11/21/2016
2017 Fundamentals of Pain Management An Interdisciplinary Primer                            11/23/2016
TISH MCCARTER                                                                               03/07/2014
2013 Aps 32Nd Annual Scientific Meeting                                                     03/28/2013
2013 Clinical Centers of Excellence in Pain Management CCOE Awards Program                  04/09/2013
American Pain Society APS 33rd Annual Scientific Meeting                                    12/11/2013
EVONNE MATTHEWS                                                                             09/11/2014
EVONNE MATTHEWS                                                                             09/11/2014
EVONNE MATTHEWS                                                                             09/11/2014
2014 Clinical Centers Of Excellence In Pain Management CCOE Awards Program                  03/21/2014
Pain Care For Primary Care PCPC A Joint Meeting Of Aps And The Journal Of Family Practice   05/08/2014
Sponsorship                                                                                 10/28/2014
American Pain Society Membership                                                            10/28/2014
APS Corp Showcase Sponsorship                                                               11/14/2014
APS Showcase Sponsorship                                                                    11/14/2014
APS Showcase Sponsorship                                                                    11/17/2014
APS Showcase Sponsorship                                                                    11/17/2014
APS PCPC Gold Sponsorship                                                                   12/10/2014
APS PCPC Friday Lunch Symposium                                                             12/10/2014
APS PCPC Lanyards                                                                           12/10/2014
APS PCPC Tote                                                                               12/10/2014
APS Spring Pain Sponsorship                                                                 12/19/2014
Sponsorship                                                                                 01/30/2015
APS Membership                                                                              06/25/2015
APCHR-6th Clinical Ctrs of Excellence in                                                    03/23/2012
APCHR-2012 Future Leaders in Pain Researc                                                   04/02/2012
Membership                                                                                  12/01/2015
Sponsorship                                                                                 12/01/2015
Sponsorship                                                                                 12/01/2015
Sponsorship                                                                                 12/01/2015
Sponsorship                                                                                 12/01/2015
Sponsorship                                                                                 12/01/2015
Sponsorship                                                                                 12/01/2015
Sponsorship                                                                                 12/14/2015
Membership                                                                                  12/18/2015
APS Grant for Annual Scientific Meeting in Pittsburg May 17-20                              01/11/2017
Corporate Membership                                                                        01/31/2017
MARK PLISHKA                                                                                12/26/2006
                                                                                            06/30/2008
                                                                                            06/30/2008
                                                                                            06/30/2008
MARIANNE STREISEL                                                                           01/03/2013
                                                                                            12/09/2005
NATALIE LEMOS                                                                               08/11/2017
NATALIE LEMOS                                                                               08/11/2017
NATALIE LEMOS                                                                               08/11/2017
NATALIE LEMOS                                                                               08/11/2017
MARIANNE STREISEL                                                                           06/13/2012
NATALIE LEMOS                                                                               07/08/2016
                                                                                            09/25/2009
EVONNE MATTHEWS                                                                             06/15/2017
                                                                                            10/07/2009
                                                                                            10/07/2009
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                                                                                                                         10/21/2008
EMATTHEWS-4616                                                                                                           11/22/2016
NATALIE LEMOS                                                                                                            06/19/2015
MARIANNE STREISEL                                                                                                        03/09/2011
EVONNE MATTHEWS                                                                                                          06/19/2017
                                                                                                                         10/07/2008
                                                                                                                         05/29/2009
EVONNE MATTHEWS                                                                                                          05/21/2015
                                                                                                                         10/31/2008
EVONNE MATTHEWS                                                                                                          06/27/2016
EVONNE MATTHEWS                                                                                                          07/11/2017
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                                                                                                                         08/25/2006
EVONNE MATTHEWS                                                                                                          01/23/2015
                                                                                                                         09/19/2007
                                                                                                                         08/18/2006
JILL PASTORE                                                                                                             08/19/2005
NATALIE LEMOS                                                                                                            12/18/2012
                                                                                                                         12/13/2005
MEMBERSHIP RENEWAL                                                                                                       10/29/2003
CORPORATE SUPPORT 01-JAN-2014 TO 31-DEC-2014                                                                             05/28/2014
fps 2014                                                                                                                 09/12/2014
JEPS 2015 SUPPORT ORRORTUNITY                                                                                            07/07/2015
JFPS 2015 SUPPORT CYBER CAFE                                                                                             10/06/2015
                                                                                                                         10/06/2005
NATALIE LEMOS                                                                                                            05/31/2017
EVONNE MATTHEWS                                                                                                          11/25/2013
NATALIE LEMOS                                                                                                            02/27/2017
KAMINIE PERSAUD                                                                                                          08/31/2016
NATALIE LEMOS                                                                                                            07/23/2014
NATALIE LEMOS                                                                                                            06/14/2013
ABIGAIL MEEHAN                                                                                                           09/20/2016
ABIGAIL MEEHAN                                                                                                           09/20/2016
Contr butions of Pharmacists to the Care of Patients With Addiction                                                      01/21/2014
Symptom Management for Patients with Advanced Illness                                                                    03/13/2014
RENEW MEMBERSHIP-JILL PASTORE                                                                                            08/18/2004
Stakeholder Meeting To Discuss The National Hit Network In Support Of Safe Efficient And Effective Medication Delivery   11/27/2013
2014 American Pharmacists Association Academy Of Student Pharmacists Apha-Asp Summer Leadership Institute Sli            12/23/2013
                                                                                                                         02/16/2006
MEMBERSHIP RENEWAL                                                                                                       09/12/2007
CFPS 2006 APPLICATION & EXHIBIT FEE                                                                                      07/19/2006
MEMBERSHIP RENEWAL 237441                                                                                                09/12/2008
Donation                                                                                                                 03/21/2014
APCHR-The Biosimilar Pathway: Where Will                                                                                 01/13/2011
APCHR-The Biosimilar Pathway: Where Will                                                                                 01/13/2011
APCHR-The Biosimilar Pathway: Where Will                                                                                 01/13/2011
APCHR-The Biosimilar Pathway: Where Will                                                                                 01/13/2011
APCHR-The Biosimilar Pathway: Where Will                                                                                 01/13/2011
APCHR-What Will the Future of Risk Evalua                                                                                01/13/2011
APCHR-What Will the Future of Risk Evalua                                                                                01/13/2011
APCHR-What Will the Future of Risk Evalua                                                                                01/13/2011
APCHR-What Will the Future of Risk Evalua                                                                                01/13/2011
APCHR-What Will the Future of Risk Evalua                                                                                01/13/2011
APCHR-Current and Emerging Therapies in M                                                                                01/13/2011
APCHR-Current and Emerging Therapies in M                                                                                01/13/2011
APCHR-Current and Emerging Therapies in M                                                                                01/13/2011
APCHR-Current and Emerging Therapies in M                                                                                01/13/2011
APCHR-Current and Emerging Therapies in M                                                                                01/13/2011
APCHR-Pharmacists Best Practice Recommend                                                                                08/17/2012
APCHR-CMS Five Star Ratings Stakeholder M                                                                                12/20/2012
APCHR-APhA Special Report                                                                                                02/01/2010
APCHR-Highlights Newsletter Recognizing                                                                                  02/18/2010
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APCHR-Drug Interactions Between Antidepre                                        04/08/2010
APCHR-Risk Evaluation and Mitigation                                             06/30/2010
APINV-PARTNERSHIP 2011                                                           09/08/2010
APINV-FED PARM INFO DISTR                                                        07/22/2011
APINV-APHA CORP PRTNRSHIP 2012                                                   11/03/2011
PILOT PROGRAM                                                                    12/31/2007
ACCOUNT 81228                                                                    02/11/2013
APINV-2012 BIG PRIZE TICKET                                                      06/11/2012
SUPPORT OF JFPS 2013 CHALLENGE COIN                                              07/16/2013
MEM # 176921 REG AFF                                                             02/15/2006
DISPLAY FEE FOR DAMION CAVICCHIO NEW ENGLAND BETH ANN MCCOOK 71110007            05/07/2012
42143703                                                                         05/06/2013
ERICA PLAYER                                                                     06/23/2016
125 COPIES OF 2013 CITY MAP                                                      05/16/2013
ASCO CITY MAP TEVA ONCOLOGY                                                      04/07/2014
ONC Field Display Fee - K Zygadlo                                                05/05/2015
ONC Field Display-T Sampson                                                      05/06/2015
ASCO DOOR DROP TEVA ONCOLOGY                                                     04/07/2014
ASCO DAILY NEWS 50TH ANNIV EDITION TEVA ONOCOLOGY                                04/07/2014
ONC-SCG 2016 Promo Support 2 events                                              12/14/2015
ONC SCG - Mtgs Promo support - Jan/Feb 2016                                      01/04/2016
ONC SCG - Mtgs Promo support - Jan/Feb 2016                                      01/04/2016
ONC SCG-3 Promo Support Events                                                   05/03/2016
ONC-SCG - Promo Support ASCO Palliative Care Exhib 2016 Symposium                08/11/2016
ONC-SCG Promo Support Cancer Surv Symp ASCO                                      09/28/2016
ONC-SCG Exhibit-ASCO Qlty Care Symp                                              02/08/2017
ONC-SCG Promo Support 3 mtgs                                                     04/05/2017
DISPLAY FOR KATHIE GLICK                                                         10/28/2013
CHARGEBACK (LF) 1-OCT-10                                                         10/01/2010
BORT PIA INC Oct-Dec 17                                                          02/12/2018
Conference 2017                                                                  03/02/2017
Conference 2017                                                                  03/02/2017
Conference 2017                                                                  03/02/2017
PLAAdd-JUL-SEPT 2016 EPIRUB FLUDAR ETOP VINCR                                    03/23/2017
PLA Add - OCTDEC 2016 EPIRUB FLUDAR ETOP VINCR                                   03/23/2017
PLA Add-Apr-June 2016 EPIRUB FLUDAR ETOP VINCR                                   03/23/2017
Q4 2015 BORT SUPPLY AGRMNT OCT-DEC                                               04/08/2016
Q1 16 Bort AGRMNT JAN FEB EDU INC                                                04/08/2016
PLAINCJAN-MAR17 BORT IVC0014022                                                  04/12/2017
Q2-11 Inc-WRHALS[LF]                                                             08/05/2011
Q2-11 Inc-WRHALS[LF]                                                             08/05/2011
Conference 2015                                                                  06/18/2015
CHARGEBACK (LF) 7-APR-11 VINCR                                                   04/07/2011
CHARGEBACK (LF) 7-APR-11 FLUDARA                                                 04/07/2011
CHARGEBACK (LF)                                                                  06/07/2012
Q2 - 15 Bort Supply Agreement IVCOO1583 11557                                    07/24/2015
BORTPLA INCAP-JN17rvc0014540/46                                                  07/27/2017
Conference 2016                                                                  08/11/2016
PLA APR16-JUN16 DIFF EPIRUB                                                      09/22/2016
Q3 2015 BORT SUPPLY AGRMNT JULAUGSEPT                                            11/11/2015
Q3 15 Bort Supply Agrment July Aug Sep EDU INC                                   11/11/2015
BORT PLA INC JUL-SEP17 IVC0014969                                                11/15/2017
                                                                                 10/11/2011
CHARGEBACK (LF) 12-JUL-10                                                        07/12/2010
                                                                                 01/17/2012
                                                                                 04/10/2012
                                                                                 07/16/2012
                                                                                 10/12/2012
                                                                                 01/10/2013
                                                                                 04/15/2013
                                                                                 12/10/2013
CHARGEBACK (LF)                                                                  02/14/2012
CHARGEBACK (LF)                                                                  03/14/2012
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                                                                                  02/27/2014
                                                                                  04/29/2014
                                                                                  06/05/2014
OGX - 011 - 11 Study Site Payment Dr Czaykowski 024                               08/27/2014
OGX - 011 - 11 Study Site Payment Dr Czaykowski 024                               09/02/2014
payment for Unscheduled visits                                                    09/02/2014
OGX - 011 - 11 STUDY SITE PAYMENT DR CZAYKOWSKI                                   11/14/2014
15-APR-09 (CHARGEBACK)                                                            04/15/2009
CHARGEBACK (LF) 15-OCT-09                                                         10/15/2009
CHARGBACK (LF)                                                                    01/17/2011
Geriatrie Oncology Principles Workshop - Teva Canada Innovation education grant   03/02/2018
CHARGEBACK 24-NOV-08                                                              11/24/2008
(L F) CHARGE BACK 25-AUG-11                                                       08/25/2011
CHARGEBACK (LF) 29-APR-11                                                         04/29/2011
CHARGEBACK (LF) 29-APR-11                                                         04/29/2011
CHARGEBACK (LF) 29-APR-11                                                         04/29/2011
CHARGEBACK (LF) 29-APR-11                                                         04/29/2011
CHARGEBACK (LF) 29-APR-11                                                         04/29/2011
AP-JN17Bort/Vinc/Etop/Epi/FludIVC001454046                                        08/04/2017
Q3-2017 Epi-Vincr-Flud-Etop                                                       11/16/2017
Q4-2017 INCENTIVE Onc Agreement                                                   01/31/2018
Q1-2018 INCENTIVE                                                                 04/27/2018
PLA APR16-JUN16 DIFF VINCR IVC0013186                                             09/22/2016
PLA INC JAN-MAR17 ETOP IVC0014029                                                 04/12/2017
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PLA APR16-JUN16 DIFF FLUD IVC0012946                                              09/22/2016
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PIA APR16-JUN16 DIFF ETOP IVC0012947                                                                                            09/22/2016
PLA JUL16-SEP16 SDIFF EPIRUB IVC0013249                                                                                         09/30/2016
PLAJUL16-SEPT16 SDIFF FLUDAR lVC0013250                                                                                         09/30/2016
PLA JULI6-SEPT16 SDIFF STOP IVC0013251                                                                                          09/30/2016
PLA JUL16-SEP16 DIFF ETOP lVC0013251 short                                                                                      02/08/2017
FLA JUL16-SEP16 SDIFF VINCR IVC0013252                                                                                          09/30/2016
PLAOct-Dec16 EPIRUB IVC0013636                                                                                                  12/31/2016
PLAOct-Dec16 FLODAR IVC0013637                                                                                                  12/31/2016
PLA Oct - Dec16 ETOP IVC0013638                                                                                                 12/31/2016
PLA Oct - Dec16 ETOP IVC0013638                                                                                                 12/31/2016
PLA Oct - Dec16 ETOP IVC0013638                                                                                                 12/31/2016
PLAOct-Dec16 VINCR IVC0013639                                                                                                   12/31/2016
PLAINCJAN-MAR17 EPIRUB IVC0014028                                                                                               04/12/2017
PLAINCJAN-MARI7 VINCR IVC0014031                                                                                                04/12/2017
PLAINCJAN-MARI7 FLUDAR IVC0014054                                                                                               04/12/2017
                                                                                                                                04/09/2018
Pain Action Alliance To Implement A National Strategy Pains                                                                     06/26/2014
Patients As Teachers                                                                                                            03/28/2014
PAINS Symposium Dinner                                                                                                          12/12/2014
APCHR-The BEST Care                                                                                                             03/09/2012
APCHR-The Most Important Conversation You                                                                                       12/13/2012
IASP 2016 WORLD CONGRESS ON PAIN                                                                                                05/18/2015
Unrestricted Grant for the support toward Career Development Sessions during the World Congress on Pain in Yokohama Japan 26-30 07/26/2016
Educational grant toward Latin American Pain Camp                                                                               08/26/2017
RECORDED FENTORA E DETAIL PROGRAM AS PART OF THE FENTORA INTEGRATED DIGITAL CAMPAIGN                                            07/16/2013
CONTRIBUTION TO PAIN CARE FORUM                                                                                                 03/15/2013
2012 PAIN CARE FORUM                                                                                                            01/03/2012
EVONNE MATTHEWS                                                                                                                 06/02/2016
COMPANY TO64086                                                                                                                 02/02/2015
EVONNE MATTHEWS                                                                                                                 04/13/2015
EMATTHEWS-5637                                                                                                                  07/25/2017
APINV-BOOTH ASSIGNMENTS                                                                                                         01/06/2012
CNL BOOTH ASSIGNMENTS                                                                                                           09/17/2013
BOOTH ASSIGNMENTS                                                                                                               01/23/2014
4500 PROMOTIONAL PIECES                                                                                                         01/15/2014
MANAGING TK1 FAILURES IN CML                                                                                                    01/15/2014
BOOTH ASSIGNMENT 901                                                                                                            10/14/2014
Emerging Trends in Palliative Care                                                                                              08/21/2014
Oncology Nursing Society 40th Annual Congress                                                                                   02/11/2015
Post Masters Foundation in Hematology Course for Advanced Practice                                                              08/31/2015
41st Annual Oncology Nursing Society Congress and Pharmacology Highlight                                                        02/22/2016
42nd ONS Annual Congress                                                                                                        03/23/2017
KAY MILLMAN                                                                                                                     04/04/2014
KAY MILLMAN                                                                                                                     04/30/2014
KAY MILLMAN                                                                                                                     04/30/2014
KAY MILLMAN                                                                                                                     04/30/2014
KAY MILLMAN                                                                                                                     04/30/2014
KAY MILLMAN                                                                                                                     04/30/2014
KAY MILLMAN                                                                                                                     04/30/2014
KAY MILLMAN                                                                                                                     04/30/2014
KAY MILLMAN                                                                                                                     04/30/2014
KAY MILLMAN                                                                                                                     04/30/2014
TISH MC 1248                                                                                                                    09/09/2013
ONC-SCG Sponsorship ONS 40th Congress Celeb                                                                                     06/02/2015
APCHR-ONS 11th Annual Conf.                                                                                                     12/14/2010
APCHR-2011 ONS Survivorship Reg Prgms                                                                                           07/20/2011
APCHR-12th Annual ONS Institutes of Learn                                                                                       08/29/2011
APCHR-2011 Advanced Practice Nursing Conf                                                                                       08/29/2011
APCHR-ONS 11th Annual Institutes of Learn                                                                                       08/31/2010
ONS ANNUAL GUIDE TO EXHIBITS                                                                                                    05/20/2014
ONC-SCG 41st Congress Promo Support                                                                                             02/19/2016
ONC-SCG Promo Support/Sponsor                                                                                                   11/09/2016
ONC Sales Display - C Hargrave                                                                                                  11/28/2017
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Donation                                                                          03/24/2014
2013 MEMBERSHIP                                                                   05/13/2013
Invisible Project                                                                 02/24/2015
Journey Of Hope Publication                                                       01/23/2015
Take Control Of Your Pain                                                         01/23/2015
Pain Medicine 411                                                                 12/15/2014
2014 CORPORATE MEMBERSHIP                                                         04/01/2014
Take Control Of Your Pain                                                         12/15/2015
Learn About Your Pain                                                             02/17/2016
Veterans Invisible Project                                                        05/04/2016
People With Pain Matter                                                           07/26/2016
Triumph Over Pain Standard                                                        03/22/2013
Black Tie and Sneakers Standard                                                   03/22/2013
Pain Warrior Bracelets Standard                                                   03/22/2013
A patient and Family D Standard                                                   03/22/2013
INvisible Project                                                                 06/04/2013
Taking Control of Pain                                                            07/10/2013
Learn About Your Pain                                                             09/04/2013
Take Control of Your Pain                                                         01/17/2014
Pain Warrior Initiative                                                           01/17/2014
INvisible Project                                                                 02/21/2014
Ambassador Advocacy Summit                                                        03/06/2014
Donation                                                                          03/21/2014
US Pain Foundation Membership                                                     12/10/2014
USPF Newsletter                                                                   12/15/2014
USPF Invisible Project                                                            12/15/2014
USPF Ambassador Summit                                                            12/15/2014
Sponership                                                                        07/24/2015
APCHR-Triumph Over Pain Run Walk or Roll                                          03/15/2012
APCHR-INvisible Project educational and a                                         04/25/2012
APCHR-Power over Pain Wa k                                                        12/04/2012
Membership                                                                        12/01/2015
Membership                                                                        12/17/2015
Sponsorship                                                                       12/18/2015
Sponsorship                                                                       12/18/2015
Sponsorship                                                                       12/18/2015
Sponsorship                                                                       12/18/2015
CORPORATE MEMBERSHIP                                                              01/31/2017
Sept 2017 Cindy Steinberg Guest Speaker Honoraria Expenses                        10/03/2017
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Invoice Received DateInvoice AmountInvoice Due DatePayment Processed DatOperating Unit                     Payment#
                              2,409      10/06/2011           10/11/2011 TIX: TEVA IVAX OPER UNIT            3,149,118
          07/24/2009          7,410      08/23/2009           08/25/2009 TUS: TEVA USA OPER UNIT            10,141,734
                              1,664      02/18/2010           02/18/2010 TUS: TEVA USA OPER UNIT            10,152,636
                                982      04/27/2011           05/03/2011 TIX: TEVA IVAX OPER UNIT            3,147,592
          12/16/2014         50,000      12/15/2014           12/18/2014 TUS: TEVA USA OPER UNIT            10,241,401
          12/17/2014         25,000      12/17/2014           12/18/2014 TUS: TEVA USA OPER UNIT            10,241,402
          11/17/2015         50,000      11/17/2015           11/19/2015 TUS: TEVA USA OPER UNIT            10,253,638
          10/07/2016         10,000      10/07/2016           10/11/2016 TUS: TEVA USA OPER UNIT            10,263,385
          02/07/2017         10,000      02/07/2017           02/21/2017 TUS: TEVA USA OPER UNIT            10,266,795
          02/14/2017         40,000      02/14/2017           02/21/2017 TUS: TEVA USA OPER UNIT            10,266,796
          06/29/2017        125,000      06/29/2017           07/05/2017 TUS: TEVA USA OPER UNIT            10,270,279
          11/21/2017         50,000      11/21/2017           12/05/2017 TUS: TEVA USA OPER UNIT            10,274,857
                             50,000      01/06/2014           02/11/2014 TUS: TEVA USA OPER UNIT            10,227,292
                             50,000      05/15/2013           09/24/2013 TUS: TEVA USA OPER UNIT            10,220,744
                              7,500      09/20/2012           09/18/2012 TN: TEVA NEUROSCIENCE OPER UNIT   100,022,654
                              7,500      10/26/2013           12/27/2013 TUS: TEVA USA OPER UNIT            10,224,886
                              7,500      10/26/2013           12/27/2013 TUS: TEVA USA OPER UNIT            10,224,886
                              7,500      10/26/2013           12/27/2013 TUS: TEVA USA OPER UNIT            10,225,181
          02/27/2015         15,000      03/29/2015           03/02/2015 TIX: TEVA IVAX OPER UNIT            3,164,936
                             15,000      11/07/2013           11/19/2013 TIX: TEVA IVAX OPER UNIT            3,159,565
          08/04/2016         20,000      08/04/2016           08/04/2016 TIX: TEVA IVAX OPER UNIT            3,169,205
                              7,500      01/11/2012           04/17/2012 TN: TEVA NEUROSCIENCE OPER UNIT   100,020,696
                              7,500      01/11/2012           02/07/2012 TN: TEVA NEUROSCIENCE OPER UNIT   100,019,687
                              9,500      10/15/2013           02/18/2014 TUS: TEVA USA OPER UNIT            10,227,599
          08/20/2014         67,500      05/02/2014           08/26/2014 TUS: TEVA USA OPER UNIT            10,236,525
                             25,000      07/02/2013           07/09/2013 TIX: TEVA IVAX OPER UNIT            3,157,890
                             20,000      09/16/2013           09/19/2013 TUS: TEVA USA OPER UNIT            10,220,675
                             20,000      02/05/2014           02/12/2014 TUS: TEVA USA OPER UNIT            10,227,555
                              9,500      11/30/2012           03/05/2013 TIX: TEVA IVAX OPER UNIT            3,155,895
          12/10/2014         75,000      12/10/2014           12/16/2014 TUS: TEVA USA OPER UNIT            10,241,144
          12/10/2014          9,500      12/10/2014           12/16/2014 TUS: TEVA USA OPER UNIT            10,241,145
          12/15/2014         13,500      12/12/2014           12/16/2014 TUS: TEVA USA OPER UNIT            10,241,146
          12/15/2014        100,000      12/12/2014           12/18/2014 TUS: TEVA USA OPER UNIT            10,241,403
          01/29/2015          3,500      01/29/2015           02/03/2015 TUS: TEVA USA OPER UNIT            10,242,992
          01/29/2015          5,000      01/29/2015           02/03/2015 TUS: TEVA USA OPER UNIT            10,242,993
                          20,401.22      09/02/2012           09/04/2012 TN: TEVA NEUROSCIENCE OPER UNIT   100,022,462
                             20,000      09/06/2012           09/11/2012 TN: TEVA NEUROSCIENCE OPER UNIT   100,022,518
          12/02/2015        100,000      12/02/2015           12/03/2015 TUS: TEVA USA OPER UNIT            10,254,015
          12/02/2015         18,000      12/02/2015           12/03/2015 TUS: TEVA USA OPER UNIT            10,254,016
          12/19/2015         75,000      12/19/2015           12/22/2015 TUS: TEVA USA OPER UNIT            10,254,664
          12/19/2015         20,000      12/19/2015           12/22/2015 TUS: TEVA USA OPER UNIT            10,254,665
          02/01/2017          5,000      02/01/2017           02/07/2017 TUS: TEVA USA OPER UNIT            10,266,470
          02/01/2017          5,000      02/01/2017           02/07/2017 TUS: TEVA USA OPER UNIT            10,266,471
                             25,000      03/03/2012           02/10/2012 TIX: TEVA IVAX OPER UNIT            3,150,474
                             25,000      04/26/2012           05/15/2012 TN: TEVA NEUROSCIENCE OPER UNIT   100,021,024
                             25,000      01/19/2013           03/05/2013 TIX: TEVA IVAX OPER UNIT            3,155,896
                             25,000      12/20/2013           06/17/2014 TUS: TEVA USA OPER UNIT            10,233,685
                             25,000      03/27/2013           04/01/2013 TIX: TEVA IVAX OPER UNIT            3,156,432
                             25,000      03/27/2013           04/01/2013 TIX: TEVA IVAX OPER UNIT            3,156,433
                             12,500      08/26/2013           09/10/2013 TIX: TEVA IVAX OPER UNIT            3,158,705
                             25,000      03/03/2014           04/07/2014 TIX: TEVA IVAX OPER UNIT            3,161,293
          03/06/2015         25,000      03/06/2015           03/06/2015 TIX: TEVA IVAX OPER UNIT            3,164,990
          03/06/2015         25,000      03/06/2015           03/06/2015 TIX: TEVA IVAX OPER UNIT            3,164,991
          01/14/2016         25,000      01/14/2016           01/14/2016 TIX: TEVA IVAX OPER UNIT            3,167,797
          01/14/2016         25,000      01/14/2016           01/14/2016 TIX: TEVA IVAX OPER UNIT            3,167,798
          10/20/2016         27,500      10/20/2016           10/25/2016 TIX: TEVA IVAX OPER UNIT            3,169,640
          10/20/2016         27,500      10/20/2016           10/25/2016 TIX: TEVA IVAX OPER UNIT            3,169,640
          10/20/2016         27,500      10/20/2016           10/25/2016 TIX: TEVA IVAX OPER UNIT            3,169,644
          11/28/2016         27,500      11/28/2016           11/30/2016 TIX: TEVA IVAX OPER UNIT            3,169,881
          05/30/2018         50,000      05/30/2018           06/05/2018 TIX: TEVA IVAX OPER UNIT            3,172,023
                             50,000      01/29/2014           01/31/2014 TUS: TEVA USA OPER UNIT            10,226,863
                             20,000      05/05/2014           05/15/2014 TUS: TEVA USA OPER UNIT            10,232,346
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    12/10/2014     75,000       12/10/2014   12/16/2014 TUS: TEVA USA OPER UNIT            10,241,147
    12/10/2014     60,000       12/10/2014   12/16/2014 TUS: TEVA USA OPER UNIT            10,241,148
    06/18/2015     25,000       06/18/2015   06/23/2015 TUS: TEVA USA OPER UNIT            10,248,601
    12/10/2014     50,000       12/10/2014   12/16/2014 TUS: TEVA USA OPER UNIT            10,241,149
    12/16/2014     20,000       12/16/2014   12/18/2014 TUS: TEVA USA OPER UNIT            10,241,404
                   20,000       11/08/2012   11/13/2012 TN: TEVA NEUROSCIENCE OPER UNIT   100,024,492
    12/02/2015     25,000       12/02/2015   12/03/2015 TUS: TEVA USA OPER UNIT            10,254,017
    12/19/2015   120,000        12/19/2015   12/22/2015 TUS: TEVA USA OPER UNIT            10,254,666
    05/20/2016     50,000       05/20/2016   05/24/2016 TUS: TEVA USA OPER UNIT            10,259,718
    05/20/2016     50,000       05/20/2016   05/25/2016 TUS: TEVA USA OPER UNIT            10,259,775
    05/20/2016     50,000       05/20/2016   05/25/2016 TUS: TEVA USA OPER UNIT            10,259,718
    02/01/2017      7,500       02/01/2017   02/07/2017 TUS: TEVA USA OPER UNIT            10,266,472
    02/07/2017      5,000       02/07/2017   02/21/2017 TUS: TEVA USA OPER UNIT            10,266,797
                   25,000       01/30/2013   03/05/2013 TIX: TEVA IVAX OPER UNIT            3,155,897
    07/19/2016      7,280       07/19/2016   10/03/2016 TIX: TEVA IVAX OPER UNIT            3,169,489
    09/07/2016   1,027.57       09/07/2016   10/03/2016 TIX: TEVA IVAX OPER UNIT            3,169,489
                   25,000       11/17/2013   02/11/2014 TUS: TEVA USA OPER UNIT            10,227,295
                   25,000       02/02/2012   02/14/2012 TN: TEVA NEUROSCIENCE OPER UNIT   100,019,757
    04/27/2016   4,631.17       05/27/2016   06/10/2016 TIX: TEVA IVAX OPER UNIT            3,168,855
    04/27/2016   4,631.17       05/27/2016   07/06/2016 TIX: TEVA IVAX OPER UNIT            3,169,049
    04/27/2016   4,631.17       05/27/2016   07/06/2016 TIX: TEVA IVAX OPER UNIT            3,168,855
    01/29/2015     59,997       01/29/2015   01/30/2015 TIX: TEVA IVAX OPER UNIT            3,164,672
    05/13/2015     85,000       05/13/2015   05/14/2015 TIX: TEVA IVAX OPER UNIT            3,165,716
    12/17/2015     68,610       12/17/2015   12/21/2015 TIX: TEVA IVAX OPER UNIT            3,167,495
    04/07/2016     10,000       04/07/2016   04/12/2016 TIX: TEVA IVAX OPER UNIT            3,168,516
    07/14/2016     22,290       07/14/2016   07/18/2016 TIX: TEVA IVAX OPER UNIT            3,169,128
    07/29/2016     13,320       07/29/2016   07/29/2016 TIX: TEVA IVAX OPER UNIT            3,169,199
    09/01/2016     23,500       09/01/2016   09/02/2016 TIX: TEVA IVAX OPER UNIT            3,169,362
    08/09/2017     30,000       08/09/2017   08/11/2017 TIX: TEVA IVAX OPER UNIT            3,171,049
                   53,800       09/16/2013   09/19/2013 TUS: TEVA USA OPER UNIT            10,220,676
                   60,000       10/23/2013   01/31/2014 TUS: TEVA USA OPER UNIT            10,226,864
                   79,000       01/17/2014   01/31/2014 TUS: TEVA USA OPER UNIT            10,226,865
                 237,000        04/21/2014   04/25/2014 TUS: TEVA USA OPER UNIT            10,231,203
    12/15/2014     25,000       12/15/2014   12/16/2014 TUS: TEVA USA OPER UNIT            10,241,150
                   40,000       09/07/2012   09/11/2012 TN: TEVA NEUROSCIENCE OPER UNIT   100,022,519
    05/23/2018     10,000       05/23/2018   05/24/2018 TUS: TEVA USA OPER UNIT            10,279,436
    10/14/2015   5,838.34       10/14/2015   10/22/2015 TIX: TEVA IVAX OPER UNIT            3,167,024
    10/21/2015          0       10/21/2015   10/22/2015 TIX: TEVA IVAX OPER UNIT            3,167,025
    10/21/2015          0       10/21/2015   11/03/2015 TIX: TEVA IVAX OPER UNIT            3,167,025
    11/13/2015   1,104.32       11/13/2015   11/17/2015 TUS: TEVA USA OPER UNIT            10,253,596
    11/17/2015     25,000       11/17/2015   11/19/2015 TUS: TEVA USA OPER UNIT            10,253,639
    02/17/2016     24,550       02/17/2016   02/23/2016 TIX: TEVA IVAX OPER UNIT            3,168,037
    11/09/2016     60,000       11/09/2016   11/15/2016 TUS: TEVA USA OPER UNIT            10,264,487
    11/09/2016     60,000       11/09/2016   12/20/2017 TUS: TEVA USA OPER UNIT                 8,743
    11/09/2016     60,000       11/09/2016   12/20/2017 TUS: TEVA USA OPER UNIT            10,264,487
    02/01/2017     10,000       02/01/2017   02/07/2017 TUS: TEVA USA OPER UNIT            10,266,474
    10/05/2017     542.12       10/05/2017   10/10/2017 TIX: TEVA IVAX OPER UNIT            3,171,263
                   25,000       12/05/2011   03/06/2012 TN: TEVA NEUROSCIENCE OPER UNIT   100,020,106
                   50,000       04/23/2012   04/24/2012 TCE: TEVA CEPHALON INC OU              41,556
    04/27/2015      9,600       04/27/2015   04/28/2015 TUS: TEVA USA OPER UNIT                87,597
                   25,000       04/26/2012   05/15/2012 TN: TEVA NEUROSCIENCE OPER UNIT   100,021,025
                   25,000       02/20/2013   07/09/2013 TIX: TEVA IVAX OPER UNIT            3,157,906
                   10,000       09/30/2014   10/24/2014 TUS: TEVA USA OPER UNIT                83,568
                   10,000       09/30/2014   10/24/2014 TUS: TEVA USA OPER UNIT                83,568
                   10,000       09/30/2014   10/24/2014 TUS: TEVA USA OPER UNIT                83,568
                    6,050       09/30/2014   10/24/2014 TUS: TEVA USA OPER UNIT                83,568
    11/04/2015     50,000       12/04/2015   12/28/2015 TUS: TEVA USA OPER UNIT            10,254,772
                    7,500       10/30/2013   11/25/2013 TUS: TEVA USA OPER UNIT                76,300
                    2,500       10/31/2013   11/25/2013 TUS: TEVA USA OPER UNIT                76,300
                    7,500       10/31/2013   11/25/2013 TUS: TEVA USA OPER UNIT                76,300
    01/23/2017     20,000       01/23/2017   01/23/2017 TUS: TEVA USA OPER UNIT               100,750
                    7,000 7/11/0013          07/31/2013 TUS: TEVA USA OPER UNIT                72,992
                   25,000       06/06/2013   06/18/2013 TIX: TEVA IVAX OPER UNIT            3,157,613
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                 25,000   02/18/2014   04/07/2014 TIX: TEVA IVAX OPER UNIT            3,161,295
    05/29/2015    1,500   05/29/2015   05/29/2015 TUS: TEVA USA OPER UNIT                88,183
    05/29/2015    1,500   05/29/2015   05/29/2015 TUS: TEVA USA OPER UNIT                88,183
    03/12/2015   25,000   03/12/2015   03/13/2015 TIX: TEVA IVAX OPER UNIT            3,165,076
    03/12/2015   25,000   03/12/2015   09/11/2015 TIX: TEVA IVAX OPER UNIT            3,166,752
    03/12/2015   25,000   03/12/2015   09/11/2015 TIX: TEVA IVAX OPER UNIT            3,165,076
    07/23/2015   15,000   07/23/2015   07/24/2015 TIX: TEVA IVAX OPER UNIT            3,166,266
    02/04/2016   25,000   02/04/2016   02/05/2016 TIX: TEVA IVAX OPER UNIT            3,167,913
    03/17/2016   25,000   03/17/2016   03/18/2016 TIX: TEVA IVAX OPER UNIT            3,168,288
    04/07/2016   15,000   04/07/2016   04/12/2016 TIX: TEVA IVAX OPER UNIT            3,168,518
    11/28/2016   30,000   11/28/2016   11/30/2016 TIX: TEVA IVAX OPER UNIT            3,169,882
    11/28/2016   15,000   11/28/2016   11/30/2016 TIX: TEVA IVAX OPER UNIT            3,169,883
                  3,500   03/07/2014   03/25/2014 TUS: TEVA USA OPER UNIT                78,605
                 50,000   03/28/2013   04/08/2013 TIX: TEVA IVAX OPER UNIT            3,156,553
                 15,000   04/09/2013   04/15/2013 TIX: TEVA IVAX OPER UNIT            3,156,651
                 50,000   12/11/2013   01/31/2014 TUS: TEVA USA OPER UNIT            10,226,866
                  5,000   09/11/2014   09/26/2014 TUS: TEVA USA OPER UNIT                83,351
                  5,450   09/11/2014   09/26/2014 TUS: TEVA USA OPER UNIT                83,351
                  5,000   09/11/2014   09/26/2014 TUS: TEVA USA OPER UNIT                83,351
                 10,000   03/21/2014   04/07/2014 TUS: TEVA USA OPER UNIT            10,230,141
                 15,000   05/08/2014   05/15/2014 TUS: TEVA USA OPER UNIT            10,232,348
    11/03/2014   50,000   10/28/2014   11/06/2014 TUS: TEVA USA OPER UNIT            10,239,804
                 25,000   10/28/2014   10/30/2014 TUS: TEVA USA OPER UNIT            10,239,393
    11/21/2014   10,000   11/14/2014   11/25/2014 TUS: TEVA USA OPER UNIT            10,240,330
    11/21/2014   10,000   11/14/2014   11/25/2014 TUS: TEVA USA OPER UNIT            10,240,327
    11/21/2014    3,500   11/17/2014   11/25/2014 TUS: TEVA USA OPER UNIT            10,240,328
    11/21/2014    5,000   11/17/2014   11/25/2014 TUS: TEVA USA OPER UNIT            10,240,329
    12/10/2014   15,000   12/10/2014   12/16/2014 TUS: TEVA USA OPER UNIT            10,241,152
    12/10/2014   49,500   12/10/2014   12/16/2014 TUS: TEVA USA OPER UNIT            10,241,153
    12/10/2014    2,500   12/10/2014   12/16/2014 TUS: TEVA USA OPER UNIT            10,241,154
    12/10/2014    2,500   12/10/2014   12/16/2014 TUS: TEVA USA OPER UNIT            10,241,155
    12/22/2014    5,000   12/22/2014   12/23/2014 TUS: TEVA USA OPER UNIT            10,241,476
    02/03/2015   15,000   02/03/2015   02/05/2015 TUS: TEVA USA OPER UNIT            10,243,030
    06/29/2015   25,000   06/29/2015   07/02/2015 TUS: TEVA USA OPER UNIT            10,249,058
                 15,000   03/23/2012   03/27/2012 TN: TEVA NEUROSCIENCE OPER UNIT   100,020,348
                 25,000   04/02/2012   04/03/2012 TN: TEVA NEUROSCIENCE OPER UNIT   100,020,478
    12/02/2015   25,000   12/02/2015   12/03/2015 TUS: TEVA USA OPER UNIT            10,254,018
    12/02/2015    5,000   12/02/2015   12/03/2015 TUS: TEVA USA OPER UNIT            10,254,019
    12/02/2015   49,500   12/02/2015   12/03/2015 TUS: TEVA USA OPER UNIT            10,254,020
    12/02/2015   15,000   12/02/2015   12/03/2015 TUS: TEVA USA OPER UNIT            10,254,021
    12/02/2015   25,000   12/02/2015   12/03/2015 TUS: TEVA USA OPER UNIT            10,254,022
    12/02/2015   50,000   12/02/2015   12/03/2015 TUS: TEVA USA OPER UNIT            10,254,023
    12/02/2015   15,000   12/02/2015   12/03/2015 TUS: TEVA USA OPER UNIT            10,254,024
    12/15/2015   15,000   12/15/2015   12/17/2015 TUS: TEVA USA OPER UNIT            10,254,569
    12/19/2015   15,000   12/19/2015   12/22/2015 TUS: TEVA USA OPER UNIT            10,254,667
    01/13/2017   15,000   01/13/2017   01/17/2017 TIX: TEVA IVAX OPER UNIT            3,170,110
    02/01/2017    7,500   02/01/2017   02/07/2017 TUS: TEVA USA OPER UNIT            10,266,475
                    222   12/26/2006   01/23/2007 TUS: TEVA USA OPER UNIT                10,899
                  7,000   06/30/2008   07/23/2008 TUS: TEVA USA OPER UNIT                26,310
                 -7,000   06/30/2008   07/23/2008 TUS: TEVA USA OPER UNIT                26,310
                  3,500   06/30/2008   07/23/2008 TUS: TEVA USA OPER UNIT                26,310
                    555   01/03/2013   01/25/2013 TUS: TEVA USA OPER UNIT                67,488
                  3,450   12/09/2005   12/28/2005 TUS: TEVA USA OPER UNIT                 2,979
    08/22/2017    5,000   08/22/2017   08/23/2017 TUS: TEVA USA OPER UNIT               106,132
    08/22/2017    5,000   08/22/2017   08/23/2017 TUS: TEVA USA OPER UNIT               106,132
    08/22/2017    5,000   08/22/2017   08/23/2017 TUS: TEVA USA OPER UNIT               106,132
    08/22/2017    5,000   08/22/2017   08/23/2017 TUS: TEVA USA OPER UNIT               106,132
                    245   06/13/2012   06/22/2012 TUS: TEVA USA OPER UNIT                62,382
    07/20/2016   10,000   07/20/2016   07/21/2016 TUS: TEVA USA OPER UNIT                96,234
                    235   09/25/2009   10/26/2009 TUS: TEVA USA OPER UNIT                39,169
    07/21/2017    3,900   07/21/2017   07/26/2017 TUS: TEVA USA OPER UNIT               105,407
                    425   10/07/2009   10/26/2009 TUS: TEVA USA OPER UNIT                39,169
                    425   10/07/2009   10/26/2009 TUS: TEVA USA OPER UNIT                39,169
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                    228   10/21/2008   12/04/2008 TUS: TEVA USA OPER UNIT                30,044
    12/28/2016    3,900   12/28/2016   12/28/2016 TUS: TEVA USA OPER UNIT               100,537
    07/24/2015   14,500   07/24/2015   07/27/2015 TUS: TEVA USA OPER UNIT                88,996
                    239   03/09/2011   03/23/2011 TUS: TEVA USA OPER UNIT                52,419
    07/21/2017   -1,950   07/21/2017   07/26/2017 TUS: TEVA USA OPER UNIT               105,407
                   -395   10/07/2008   10/27/2008 TUS: TEVA USA OPER UNIT                29,085
                  4,000   05/29/2009   06/24/2009 TUS: TEVA USA OPER UNIT                35,928
    06/23/2015    7,800   06/23/2015   06/23/2015 TUS: TEVA USA OPER UNIT                88,422
                    650   10/31/2008   12/04/2008 TUS: TEVA USA OPER UNIT                30,044
    07/19/2016    3,900   07/19/2016   07/19/2016 TUS: TEVA USA OPER UNIT                96,139
    07/21/2017    1,950   07/21/2017   07/26/2017 TUS: TEVA USA OPER UNIT               105,407
                    425   10/02/2008   10/27/2008 TUS: TEVA USA OPER UNIT                29,085
                    425   10/02/2008   10/27/2008 TUS: TEVA USA OPER UNIT                29,085
                    216   08/25/2006   09/22/2006 TUS: TEVA USA OPER UNIT                 7,615
    03/02/2015    7,400   03/02/2015   03/02/2015 TUS: TEVA USA OPER UNIT                86,459
                    220   09/19/2007   10/23/2007 TUS: TEVA USA OPER UNIT                18,349
                    216   08/18/2006   09/22/2006 TUS: TEVA USA OPER UNIT                 7,615
                    210   08/19/2005   12/22/2005 TUS: TEVA USA OPER UNIT                 1,971
                  4,500   12/18/2012   01/28/2013 TUS: TEVA USA OPER UNIT                67,963
                    216   12/13/2005   12/28/2005 TUS: TEVA USA OPER UNIT                 2,979
                    205   10/29/2003   11/06/2003 TUS: TEVA USA OPER UNIT            10,008,946
                 25,000   05/28/2014   06/10/2014 TUS: TEVA USA OPER UNIT            10,233,267
    09/30/2014    5,000   09/12/2014   10/21/2014 TUS: TEVA USA OPER UNIT            10,238,855
    07/13/2015    5,000   07/13/2015   08/25/2015 TUS: TEVA USA OPER UNIT            10,250,834
    10/07/2015    7,500   10/07/2015   10/26/2015 TUS: TEVA USA OPER UNIT            10,252,788
                    210   10/06/2005   12/22/2005 TUS: TEVA USA OPER UNIT                 2,300
    06/23/2017   10,000   06/23/2017   06/26/2017 TUS: TEVA USA OPER UNIT               104,719
                  3,900   11/25/2013   12/23/2013 TUS: TEVA USA OPER UNIT                76,516
    03/22/2017    3,000   03/22/2017   03/23/2017 TUS: TEVA USA OPER UNIT               102,396
    09/21/2016    1,190   09/21/2016   09/23/2016 TUS: TEVA USA OPER UNIT                97,477
                  7,250   07/23/2014   08/26/2014 TUS: TEVA USA OPER UNIT                82,238
                 14,500   06/14/2013   07/23/2013 TUS: TEVA USA OPER UNIT                72,460
    10/20/2016    5,000   10/20/2016   10/25/2016 TUS: TEVA USA OPER UNIT                98,252
    10/20/2016    5,000   10/20/2016   10/25/2016 TUS: TEVA USA OPER UNIT                98,252
                  3,000   01/21/2014   02/04/2014 TIX: TEVA IVAX OPER UNIT            3,160,503
                  5,100   03/13/2014   04/07/2014 TIX: TEVA IVAX OPER UNIT            3,161,296
                    205   08/18/2004   08/19/2004 TUS: TEVA USA OPER UNIT            10,024,453
                 35,000   11/27/2013   01/31/2014 TUS: TEVA USA OPER UNIT            10,226,869
                 25,000   12/23/2013   01/31/2014 TUS: TEVA USA OPER UNIT            10,226,870
                    630   02/16/2006   03/24/2006 TUS: TEVA USA OPER UNIT                 4,294
                    222   09/12/2007   09/13/2007 TUS: TEVA USA OPER UNIT            10,097,829
                  3,000   07/19/2006   07/20/2006 TUS: TEVA USA OPER UNIT            10,063,541
                    222   09/12/2008   09/18/2008 TUS: TEVA USA OPER UNIT            10,122,559
                 25,000   03/21/2014   03/27/2014 TUS: TEVA USA OPER UNIT            10,229,754
                 20,000   01/13/2011   01/21/2011 TN: TEVA NEUROSCIENCE OPER UNIT   100,010,233
                 20,000   01/13/2011   01/18/2011 TN: TEVA NEUROSCIENCE OPER UNIT   100,010,010
                 20,000   01/13/2011   02/11/2011 TN: TEVA NEUROSCIENCE OPER UNIT   100,010,734
                 20,000   01/13/2011   02/11/2011 TN: TEVA NEUROSCIENCE OPER UNIT   100,010,233
                 20,000   01/13/2011   01/21/2011 TN: TEVA NEUROSCIENCE OPER UNIT   100,010,010
                 20,000   01/13/2011   02/11/2011 TN: TEVA NEUROSCIENCE OPER UNIT   100,010,735
                 20,000   01/13/2011   02/11/2011 TN: TEVA NEUROSCIENCE OPER UNIT   100,010,234
                 20,000   01/13/2011   01/21/2011 TN: TEVA NEUROSCIENCE OPER UNIT   100,010,010
                 20,000   01/13/2011   01/21/2011 TN: TEVA NEUROSCIENCE OPER UNIT   100,010,234
                 20,000   01/13/2011   01/18/2011 TN: TEVA NEUROSCIENCE OPER UNIT   100,010,010
                 20,000   01/13/2011   02/11/2011 TN: TEVA NEUROSCIENCE OPER UNIT   100,010,736
                 20,000   01/13/2011   02/11/2011 TN: TEVA NEUROSCIENCE OPER UNIT   100,010,235
                 20,000   01/13/2011   01/21/2011 TN: TEVA NEUROSCIENCE OPER UNIT   100,010,010
                 20,000   01/13/2011   01/21/2011 TN: TEVA NEUROSCIENCE OPER UNIT   100,010,235
                 20,000   01/13/2011   01/18/2011 TN: TEVA NEUROSCIENCE OPER UNIT   100,010,010
                 10,000   08/17/2012   08/21/2012 TN: TEVA NEUROSCIENCE OPER UNIT   100,022,297
                 10,000   12/20/2012   12/26/2012 TN: TEVA NEUROSCIENCE OPER UNIT   100,025,230
                 86,100   02/01/2010   02/02/2010 TN: TEVA NEUROSCIENCE OPER UNIT   100,000,313
                 75,475   02/18/2010   02/23/2010 TN: TEVA NEUROSCIENCE OPER UNIT   100,000,932
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                     37,000   04/08/2010   04/14/2010 TN: TEVA NEUROSCIENCE OPER UNIT     100,002,383
                     10,000   06/30/2010   06/30/2010 TN: TEVA NEUROSCIENCE OPER UNIT     100,004,913
                     10,000   09/08/2010   09/28/2010 TN: TEVA NEUROSCIENCE OPER UNIT     100,007,002
                      5,000   07/22/2011   08/09/2011 TN: TEVA NEUROSCIENCE OPER UNIT     100,015,677
                     10,000   11/03/2011   11/22/2011 TN: TEVA NEUROSCIENCE OPER UNIT     100,018,165
                      2,500   12/31/2007   02/21/2008 TUS: TEVA USA OPER UNIT              10,109,399
                     10,000   02/11/2013   07/09/2013 TIX: TEVA IVAX OPER UNIT              3,157,907
                      5,500   06/11/2012   06/19/2012 TN: TEVA NEUROSCIENCE OPER UNIT     100,021,528
                      5,000   07/16/2013   08/06/2013 TUS: TEVA USA OPER UNIT              10,218,256
                        216   02/25/2006   02/28/2006 NOV: NOVOPHARM OPR UNIT              10,002,726
                      1,500   05/07/2012   05/08/2012 TCE: TEVA CEPHALON INC OU                41,692
                     47,900   06/05/2013   06/04/2013 TUS: TEVA USA OPER UNIT              10,215,156
    07/20/2016          435   07/20/2016   07/21/2016 TUS: TEVA USA OPER UNIT                  96,235
                        275   06/15/2013   06/11/2013 TUS: TEVA USA OPER UNIT              10,215,539
                      3,500   05/07/2014   05/13/2014 TUS: TEVA USA OPER UNIT              10,232,073
    05/07/2015        1,995   05/07/2015   05/12/2015 TUS: TEVA USA OPER UNIT              10,247,027
    05/08/2015        1,995   05/08/2015   05/12/2015 TUS: TEVA USA OPER UNIT              10,247,028
                     22,000   05/07/2014   05/13/2014 TUS: TEVA USA OPER UNIT              10,232,073
                      5,000   05/07/2014   05/13/2014 TUS: TEVA USA OPER UNIT              10,232,073
    12/16/2015        3,000   12/16/2015   12/17/2015 TUS: TEVA USA OPER UNIT              10,254,571
    01/06/2016            0   01/06/2016   01/07/2016 TUS: TEVA USA OPER UNIT              10,255,195
    01/06/2016            0   01/06/2016   02/03/2016 TUS: TEVA USA OPER UNIT              10,255,195
    05/04/2016        5,985   05/04/2016   05/05/2016 TUS: TEVA USA OPER UNIT              10,259,334
    08/11/2016        1,500   08/11/2016   08/23/2016 TUS: TEVA USA OPER UNIT              10,262,042
    09/30/2016        1,500   09/30/2016   10/04/2016 TUS: TEVA USA OPER UNIT              10,263,326
    02/13/2017        1,995   02/13/2017   02/14/2017 TUS: TEVA USA OPER UNIT              10,266,711
    04/05/2017        6,885   04/05/2017   04/11/2017 TUS: TEVA USA OPER UNIT              10,268,444
                        700   10/28/2013   11/05/2013 TUS: TEVA USA OPER UNIT              10,222,792
                  16,088.80   10/01/2010   12/09/2010 NOV: NOVOPHARM OPR UNIT                 132,855
    02/23/2018   212,523.43   02/23/2018   03/01/2018 NOV: NOVOPHARM OPR UNIT                 399,480
    03/03/2017        1,000   03/03/2017   04/04/2017 NOV: NOVOPHARM OPR UNIT                 367,194
    03/03/2017        1,000   03/03/2017   04/07/2017 NOV: NOVOPHARM OPR UNIT                 367,194
    03/03/2017        1,000   03/03/2017   04/07/2017 NOV: NOVOPHARM OPR UNIT                 369,180
    04/05/2017       912.50   04/05/2017   04/19/2017 NOV: NOVOPHARM OPR UNIT                 371,089
    04/05/2017       940.09   04/05/2017   04/19/2017 NOV: NOVOPHARM OPR UNIT                 371,090
    05/11/2017       843.40   05/11/2017   05/17/2017 NOV: NOVOPHARM OPR UNIT                 373,429
    04/12/2016     8,023.49   04/08/2016   04/13/2016 NOV: NOVOPHARM OPR UNIT                 339,553
    04/12/2016     1,589.98   04/08/2016   04/13/2016 NOV: NOVOPHARM OPR UNIT                 339,554
    04/17/2017   387,842.99   04/17/2017   04/19/2017 NOV: NOVOPHARM OPR UNIT                 371,091
                          0   08/05/2011   08/17/2011 NOV: NOVOPHARM OPR UNIT                 167,080
                          0   08/05/2011   03/06/2012 NOV: NOVOPHARM OPR UNIT                 167,080
    06/18/2015        1,000   06/18/2015   06/24/2015 NOV: NOVOPHARM OPR UNIT                 316,123
                  45,872.10   04/07/2011   04/20/2011 NOV: NOVOPHARM OPR UNIT                 149,880
                        300   04/07/2011   04/20/2011 NOV: NOVOPHARM OPR UNIT                 149,881
                   4,769.60   06/07/2012   06/27/2012 NOV: NOVOPHARM OPR UNIT                 208,926
    08/17/2015   297,346.06   07/24/2015   08/19/2015 NOV: NOVOPHARM OPR UNIT                 321,964
    08/22/2017    73,789.07   08/22/2017   08/23/2017 NOV: NOVOPHARM OPR UNIT                 380,613
    08/11/2016        1,000   08/11/2016   08/17/2016 NOV: NOVOPHARM OPR UNIT                 350,142
    09/28/2016    31,831.36   09/22/2016   10/05/2016 NOV: NOVOPHARM OPR UNIT                 354,135
    11/13/2015   344,127.42   11/11/2015   11/18/2015 NOV: NOVOPHARM OPR UNIT                 328,178
    02/10/2016     6,227.41   11/11/2015   02/17/2016 NOV: NOVOPHARM OPR UNIT                 335,391
    11/21/2017     192,155    11/21/2017   11/22/2017 NOV: NOVOPHARM OPR UNIT                 389,205
                   3,726.45   10/11/2011   10/13/2011 TCI: TEVA CANADA INNOVATION OPER UN      31,781
                   1,246.25   07/12/2010   07/22/2010 NOV: NOVOPHARM OPR UNIT                 115,787
                   8,207.55   01/17/2012   01/25/2012 TCI: TEVA CANADA INNOVATION OPER UN      32,630
                  33,959.25   04/10/2012   04/11/2012 TCI: TEVA CANADA INNOVATION OPER UN      33,123
                  36,117.90   07/16/2012   07/18/2012 TCI: TEVA CANADA INNOVATION OPER UN      33,716
                  25,517.70   10/12/2012   10/17/2012 TCI: TEVA CANADA INNOVATION OPER UN      34,199
                  28,910.70   01/10/2013   01/30/2013 TCI: TEVA CANADA INNOVATION OPER UN      10,458
                  16,122.60   04/15/2013   04/24/2013 TCI: TEVA CANADA INNOVATION OPER UN      10,968
                   7,195.50   12/10/2013   12/11/2013 TCI: TEVA CANADA INNOVATION OPER UN      12,434
                     12,466   02/14/2012   03/07/2012 NOV: NOVOPHARM OPR UNIT                 191,728
                  10,677.40   03/14/2012   04/04/2012 NOV: NOVOPHARM OPR UNIT                 197,296
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                   4,071.60   02/27/2014   03/05/2014 TCI: TEVA CANADA INNOVATION OPER UN     12,811
                   7,154.55   04/29/2014   05/07/2014 TCI: TEVA CANADA INNOVATION OPER UN     13,071
                   1,386.45   06/05/2014   06/11/2014 TCI: TEVA CANADA INNOVATION OPER UN     13,222
    08/28/2014     2,316.60   08/27/2014   09/03/2014 TCI: TEVA CANADA INNOVATION OPER UN     13,454
    09/02/2014    20,385.30   09/02/2014   09/10/2014 TCI: TEVA CANADA INNOVATION OPER UN     13,486
    09/02/2014        6,400   09/02/2014   09/10/2014 TCI: TEVA CANADA INNOVATION OPER UN     13,487
    11/17/2014     8,780.85   11/14/2014   11/19/2014 TCI: TEVA CANADA INNOVATION OPER UN     13,716
                   5,533.20   04/15/2009   04/22/2009 NOV: NOVOPHARM OPR UNIT             10,133,082
                      3,816   10/15/2009   11/18/2009 NOV: NOVOPHARM OPR UNIT             10,151,374
                   1,921.95   01/17/2011   02/23/2011 NOV: NOVOPHARM OPR UNIT                142,622
    03/12/2018        2,000   03/12/2018   03/22/2018 TCI: TEVA CANADA INNOVATION OPER UN     16,359
                  26,521.20   11/24/2008   11/26/2008 NOV: NOVOPHARM OPR UNIT             10,120,248
                  33,104.10   08/25/2011   09/21/2011 NOV: NOVOPHARM OPR UNIT                171,637
                  99,262.64   04/29/2011   05/04/2011 NOV: NOVOPHARM OPR UNIT                154,068
                  96,453.32   04/29/2011   05/04/2011 NOV: NOVOPHARM OPR UNIT                154,068
                  99,262.64   04/29/2011   05/04/2011 NOV: NOVOPHARM OPR UNIT                154,068
                  90,834.68   04/29/2011   05/04/2011 NOV: NOVOPHARM OPR UNIT                154,068
                   9,364.40   04/29/2011   05/04/2011 NOV: NOVOPHARM OPR UNIT                154,068
    08/04/2017     6,135.58   08/04/2017   08/10/2017 NOV: NOVOPHARM OPR UNIT                379,740
    11/16/2017       910.26   11/16/2017   11/22/2017 NOV: NOVOPHARM OPR UNIT                389,206
    01/31/2018       871.85   01/31/2018   01/31/2018 NOV: NOVOPHARM OPR UNIT                397,137
    04/27/2018       680.07   04/27/2018   05/02/2018 NOV: NOVOPHARM OPR UNIT                404,380
    09/28/2016    27,962.60   09/22/2016   10/05/2016 NOV: NOVOPHARM OPR UNIT                354,136
    04/13/2017    91,473.51   04/13/2017   04/19/2017 NOV: NOVOPHARM OPR UNIT                371,092
                      2,500   03/31/2011   04/13/2011 TCI: TEVA CANADA INNOVATION OPER UN     30,630
                      7,400   03/31/2011   04/13/2011 TCI: TEVA CANADA INNOVATION OPER UN     30,630
                      1,027   05/31/2011   06/29/2011 TCI: TEVA CANADA INNOVATION OPER UN     31,225
                   1,100.60   08/31/2011   10/05/2011 TCI: TEVA CANADA INNOVATION OPER UN     31,720
                         60   10/31/2011   11/29/2011 TCI: TEVA CANADA INNOVATION OPER UN     32,268
                     550.30   10/31/2011   11/29/2011 TCI: TEVA CANADA INNOVATION OPER UN     32,268
                        200   11/30/2011   05/30/2012 TCI: TEVA CANADA INNOVATION OPER UN     33,407
                         90   12/31/2011   02/01/2012 TCI: TEVA CANADA INNOVATION OPER UN     32,671
                        500   01/31/2012   05/30/2012 TCI: TEVA CANADA INNOVATION OPER UN     33,407
                   1,100.60   02/23/2012   03/21/2012 TCI: TEVA CANADA INNOVATION OPER UN     32,960
                      1,027   03/06/2012   10/31/2012 TCI: TEVA CANADA INNOVATION OPER UN     34,318
                        200   03/08/2012   03/28/2012 TCI: TEVA CANADA INNOVATION OPER UN     33,004
                         90   03/31/2012   05/02/2012 TCI: TEVA CANADA INNOVATION OPER UN     33,238
                   1,620.60   04/19/2012   05/09/2012 TCI: TEVA CANADA INNOVATION OPER UN     33,289
                   9,233.90   06/30/2012   08/15/2012 TCI: TEVA CANADA INNOVATION OPER UN     33,854
                        200   07/31/2012   08/15/2012 TCI: TEVA CANADA INNOVATION OPER UN     33,854
                         90   08/31/2012   10/17/2012 TCI: TEVA CANADA INNOVATION OPER UN     34,200
                   1,620.60   09/25/2012   10/17/2012 TCI: TEVA CANADA INNOVATION OPER UN     34,200
                   6,482.40   09/25/2012   10/17/2012 TCI: TEVA CANADA INNOVATION OPER UN     34,200
                         90   09/30/2012   10/23/2013 TCI: TEVA CANADA INNOVATION OPER UN     12,106
                   4,861.80   10/31/2012   10/23/2013 TCI: TEVA CANADA INNOVATION OPER UN     12,106
                   3,241.20   11/21/2012   01/23/2013 TCI: TEVA CANADA INNOVATION OPER UN     10,402
                   1,620.60   12/31/2012   01/23/2013 TCI: TEVA CANADA INNOVATION OPER UN     10,402
                         90   12/31/2012   02/25/2013 TCI: TEVA CANADA INNOVATION OPER UN     10,639
                   1,100.60   01/31/2013   10/23/2013 TCI: TEVA CANADA INNOVATION OPER UN     12,106
                   1,100.60   02/28/2013   04/10/2013 TCI: TEVA CANADA INNOVATION OPER UN     10,892
                        200   03/27/2013   06/05/2013 TCI: TEVA CANADA INNOVATION OPER UN     11,302
                   3,241.20   03/27/2013   05/29/2013 TCI: TEVA CANADA INNOVATION OPER UN     11,206
                   1,620.60   03/27/2013   05/29/2013 TCI: TEVA CANADA INNOVATION OPER UN     11,206
                         90   03/31/2013   12/11/2013 TCI: TEVA CANADA INNOVATION OPER UN     12,435
                   1,100.60   04/30/2013   10/23/2013 TCI: TEVA CANADA INNOVATION OPER UN     12,106
                   1,620.60   05/31/2013   08/21/2013 TCI: TEVA CANADA INNOVATION OPER UN     11,805
                   3,241.20   06/30/2013   08/14/2013 TCI: TEVA CANADA INNOVATION OPER UN     11,772
                         90   09/30/2013   10/30/2013 TCI: TEVA CANADA INNOVATION OPER UN     12,159
                   3,241.20   10/31/2013   03/12/2014 TCI: TEVA CANADA INNOVATION OPER UN     12,842
    04/12/2016    87,862.32   02/16/2016   04/13/2016 NOV: NOVOPHARM OPR UNIT                339,555
    04/12/2016     4,225.21   02/16/2016   04/13/2016 NOV: NOVOPHARM OPR UNIT                339,555
    04/12/2016   443,379.30   03/31/2016   04/13/2016 NOV: NOVOPHARM OPR UNIT                339,555
    09/28/2016    24,533.23   09/22/2016   10/05/2016 NOV: NOVOPHARM OPR UNIT                354,137
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    09/28/2016    87,315.90       09/22/2016   10/05/2016 NOV: NOVOPHARM OPR UNIT                 354,138
    11/02/2016   117,825.57       09/30/2016   11/09/2016 NOV: NOVOPHARM OPR UNIT                 357,119
    11/02/2016    28,732.60       09/30/2016   11/09/2016 NOV: NOVOPHARM OPR UNIT                 357,120
    11/02/2016    79,335.62       09/30/2016   11/09/2016 NOV: NOVOPHARM OPR UNIT                 357,121
    02/10/2017          220       02/10/2017   02/15/2017 NOV: NOVOPHARM OPR UNIT                 365,157
    11/02/2016       27,090       09/30/2016   11/09/2016 NOV: NOVOPHARM OPR UNIT                 357,122
    03/09/2017   129,384.43       03/09/2017   04/05/2017 NOV: NOVOPHARM OPR UNIT                 367,283
    03/09/2017    37,794.42       03/09/2017   04/05/2017 NOV: NOVOPHARM OPR UNIT                 367,284
    03/17/2017    73,339.75       03/17/2017   04/07/2017 NOV: NOVOPHARM OPR UNIT                 367,195
    03/17/2017    73,339.75       03/17/2017   04/07/2017 NOV: NOVOPHARM OPR UNIT                 369,181
    03/17/2017    73,339.75       03/17/2017   04/04/2017 NOV: NOVOPHARM OPR UNIT                 367,195
    03/09/2017    28,955.76       03/09/2017   04/05/2017 NOV: NOVOPHARM OPR UNIT                 367,285
    04/13/2017    78,649.76       04/13/2017   04/19/2017 NOV: NOVOPHARM OPR UNIT                 371,093
    04/13/2017    18,953.73       04/13/2017   04/19/2017 NOV: NOVOPHARM OPR UNIT                 371,094
    04/13/2017    26,556.53       04/13/2017   04/19/2017 NOV: NOVOPHARM OPR UNIT                 371,095
    04/24/2018       56,250       04/24/2018   05/14/2018 TCI: TEVA CANADA INNOVATION OPER UN     107,407
                     50,000       06/26/2014   07/08/2014 TUS: TEVA USA OPER UNIT              10,234,505
                      5,000       03/28/2014   04/07/2014 TUS: TEVA USA OPER UNIT              10,230,144
    12/15/2014       50,000       12/15/2014   12/16/2014 TUS: TEVA USA OPER UNIT              10,241,162
                      3,500       03/09/2012   03/13/2012 TN: TEVA NEUROSCIENCE OPER UNIT     100,020,170
                      5,000       12/13/2012   12/18/2012 TN: TEVA NEUROSCIENCE OPER UNIT     100,025,127
    12/01/2015       29,400       12/01/2015   01/05/2016 TIX: TEVA IVAX OPER UNIT              3,167,596
    07/28/2016       35,000       07/28/2016   08/02/2016 TIX: TEVA IVAX OPER UNIT              3,169,203
    08/28/2017       87,680       08/28/2017   08/29/2017 TIX: TEVA IVAX OPER UNIT              3,171,117
                      2,000       07/16/2013   07/18/2013 TUS: TEVA USA OPER UNIT              10,217,531
                      2,000       03/15/2013   03/19/2013 TUS: TEVA USA OPER UNIT              10,211,040
                      2,000       01/03/2012   01/17/2012 TUS: TEVA USA OPER UNIT              10,189,794
    06/21/2016       35,000       06/21/2016   06/22/2016 TUS: TEVA USA OPER UNIT                  95,590
    02/04/2015       15,000       03/04/2015   03/24/2015 TUS: TEVA USA OPER UNIT              10,245,289
    04/27/2015       29,695       04/27/2015   04/28/2015 TUS: TEVA USA OPER UNIT                  87,638
    08/28/2017       35,000       08/28/2017   08/28/2017 TUS: TEVA USA OPER UNIT                 106,745
                     56,000       01/06/2012   02/07/2012 TN: TEVA NEUROSCIENCE OPER UNIT     100,019,721
                      5,000       10/17/2013   10/15/2013 TUS: TEVA USA OPER UNIT              10,221,771
                     34,650       02/22/2014   03/04/2014 TUS: TEVA USA OPER UNIT              10,228,574
                      5,600       02/14/2014   02/25/2014 TUS: TEVA USA OPER UNIT              10,228,219
                     15,000       02/14/2014   02/25/2014 TUS: TEVA USA OPER UNIT              10,228,219
    10/17/2014       34,650       11/13/2014   11/19/2014 TUS: TEVA USA OPER UNIT              10,240,225
                      5,000       08/21/2014   09/25/2014 TIX: TEVA IVAX OPER UNIT              3,163,385
    02/20/2015       25,000       02/20/2015   02/24/2015 TIX: TEVA IVAX OPER UNIT              3,164,899
    09/08/2015       10,000       09/08/2015   09/08/2015 TIX: TEVA IVAX OPER UNIT              3,166,622
    02/26/2016       25,000       02/26/2016   02/26/2016 TIX: TEVA IVAX OPER UNIT              3,168,142
    03/30/2017       25,000       03/30/2017   04/04/2017 TIX: TEVA IVAX OPER UNIT              3,170,403
                      4,500       04/04/2014   04/22/2014 TUS: TEVA USA OPER UNIT                  79,344
                        875       04/30/2014   05/23/2014 TUS: TEVA USA OPER UNIT                  80,044
                        875       04/30/2014   05/23/2014 TUS: TEVA USA OPER UNIT                  80,044
                        875       04/30/2014   05/23/2014 TUS: TEVA USA OPER UNIT                  80,044
                        875       04/30/2014   05/23/2014 TUS: TEVA USA OPER UNIT                  80,044
                        875       04/30/2014   05/23/2014 TUS: TEVA USA OPER UNIT                  80,044
                        875       04/30/2014   05/23/2014 TUS: TEVA USA OPER UNIT                  80,044
                        875       04/30/2014   05/23/2014 TUS: TEVA USA OPER UNIT                  80,044
                        875       04/30/2014   05/23/2014 TUS: TEVA USA OPER UNIT                  80,044
                        580       04/30/2014   05/23/2014 TUS: TEVA USA OPER UNIT                  80,044
                      1,710 9/9/0013           09/27/2013 TUS: TEVA USA OPER UNIT                  74,723
    06/02/2015        7,500       06/02/2015   06/04/2015 TUS: TEVA USA OPER UNIT              10,247,998
                      5,000       12/14/2010   12/21/2010 TN: TEVA NEUROSCIENCE OPER UNIT     100,009,745
                     20,000       07/20/2011   07/26/2011 TN: TEVA NEUROSCIENCE OPER UNIT     100,015,413
                      7,500       08/29/2011   08/30/2011 TN: TEVA NEUROSCIENCE OPER UNIT     100,016,184
                      7,500       08/29/2011   08/30/2011 TN: TEVA NEUROSCIENCE OPER UNIT     100,016,185
                      5,000       08/31/2010   09/07/2010 TN: TEVA NEUROSCIENCE OPER UNIT     100,006,482
                     14,490       06/19/2014   06/24/2014 TUS: TEVA USA OPER UNIT              10,233,989
    02/22/2016       43,495       02/22/2016   02/23/2016 TUS: TEVA USA OPER UNIT              10,256,657
    11/10/2016       30,000       11/10/2016   11/15/2016 TUS: TEVA USA OPER UNIT              10,264,546
    11/28/2017          350       11/28/2017   12/05/2017 TUS: TEVA USA OPER UNIT              10,274,904
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                    5,000   03/24/2014   04/15/2014 TUS: TEVA USA OPER UNIT            10,230,605
                    7,500   05/13/2013   06/27/2013 TIX: TEVA IVAX OPER UNIT            3,157,813
    02/27/2015     60,000   02/27/2015   03/02/2015 TIX: TEVA IVAX OPER UNIT            3,164,940
    01/29/2015     25,000   01/29/2015   01/30/2015 TIX: TEVA IVAX OPER UNIT            3,164,687
    01/29/2015     25,000   01/29/2015   01/30/2015 TIX: TEVA IVAX OPER UNIT            3,164,688
    01/29/2015     30,000   01/29/2015   01/30/2015 TIX: TEVA IVAX OPER UNIT            3,164,689
                    9,500   04/01/2014   04/15/2014 TUS: TEVA USA OPER UNIT            10,230,787
    12/17/2015     15,000   12/17/2015   12/21/2015 TIX: TEVA IVAX OPER UNIT            3,167,498
    02/22/2016     40,000   02/22/2016   02/24/2016 TIX: TEVA IVAX OPER UNIT            3,168,046
    05/12/2016     30,000   05/12/2016   05/12/2016 TIX: TEVA IVAX OPER UNIT            3,168,760
    07/29/2016     25,000   07/29/2016   07/29/2016 TIX: TEVA IVAX OPER UNIT            3,169,202
                    2,000   03/22/2013   04/01/2013 TIX: TEVA IVAX OPER UNIT            3,156,438
                   10,000   03/22/2013   04/01/2013 TIX: TEVA IVAX OPER UNIT            3,156,439
                   20,000   03/22/2013   04/01/2013 TIX: TEVA IVAX OPER UNIT            3,156,440
                    7,500   03/22/2013   04/01/2013 TIX: TEVA IVAX OPER UNIT            3,156,441
                   50,000   06/04/2013   06/07/2013 TIX: TEVA IVAX OPER UNIT            3,157,458
                   25,000   07/10/2013   07/15/2013 TIX: TEVA IVAX OPER UNIT            3,157,982
                   25,000   09/04/2013   09/06/2013 TUS: TEVA USA OPER UNIT            10,220,012
                   30,000   01/17/2014   01/31/2014 TUS: TEVA USA OPER UNIT            10,226,886
                   20,000   01/17/2014   01/31/2014 TUS: TEVA USA OPER UNIT            10,226,887
                   50,000   02/21/2014   03/11/2014 TUS: TEVA USA OPER UNIT            10,229,039
                   25,000   03/06/2014   03/14/2014 TUS: TEVA USA OPER UNIT            10,229,114
                    7,000   03/21/2014   04/01/2014 TUS: TEVA USA OPER UNIT            10,229,850
    12/10/2014      9,500   12/10/2014   12/16/2014 TUS: TEVA USA OPER UNIT            10,241,209
    12/16/2014     25,000   12/16/2014   12/18/2014 TUS: TEVA USA OPER UNIT            10,241,444
    12/16/2014     60,000   12/16/2014   12/18/2014 TUS: TEVA USA OPER UNIT            10,241,445
    12/16/2014     30,000   12/16/2014   12/18/2014 TUS: TEVA USA OPER UNIT            10,241,446
    07/27/2015      5,000   07/27/2015   07/28/2015 TUS: TEVA USA OPER UNIT            10,249,977
                    7,000   03/15/2012   03/20/2012 TN: TEVA NEUROSCIENCE OPER UNIT   100,020,338
                   40,000   04/25/2012   05/01/2012 TN: TEVA NEUROSCIENCE OPER UNIT   100,020,945
                    3,000   12/04/2012   12/11/2012 TN: TEVA NEUROSCIENCE OPER UNIT   100,025,091
    12/02/2015     40,000   12/02/2015   12/03/2015 TUS: TEVA USA OPER UNIT            10,254,073
    12/17/2015     40,000   12/17/2015   12/22/2015 TUS: TEVA USA OPER UNIT            10,254,699
    12/19/2015     25,000   12/19/2015   12/22/2015 TUS: TEVA USA OPER UNIT            10,254,700
    12/19/2015     30,000   12/19/2015   12/22/2015 TUS: TEVA USA OPER UNIT            10,254,701
    12/19/2015     60,000   12/19/2015   12/22/2015 TUS: TEVA USA OPER UNIT            10,254,702
    12/19/2015     30,000   12/19/2015   12/22/2015 TUS: TEVA USA OPER UNIT            10,254,703
    02/01/2017     15,000   02/01/2017   02/07/2017 TUS: TEVA USA OPER UNIT            10,266,509
    10/16/2017   1,148.15   10/16/2017   10/17/2017 TIX: TEVA IVAX OPER UNIT            3,171,321
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Check Date Check AmountCleared AmounCleared Date
 10/11/2011       2,409         2,409 10/26/2011
 08/25/2009       7,410         7,410 08/31/2009
 02/18/2010       1,664         1,664 03/15/2010
 05/03/2011         982           982 05/16/2011
 12/18/2014      50,000        50,000 12/23/2014
 12/18/2014      25,000        25,000 12/23/2014
 11/19/2015      50,000        50,000 11/24/2015
 10/11/2016      10,000        10,000 10/24/2016
 02/21/2017      10,000        10,000 02/28/2017
 02/21/2017      40,000        40,000 02/28/2017
 07/05/2017     125,000      125,000 07/11/2017
 12/05/2017      50,000        50,000 12/19/2017
 02/11/2014      50,000        50,000 02/19/2014
 09/24/2013      50,000        50,000 10/01/2013
 09/18/2012       7,500         7,500 09/30/2012
 12/27/2013       7,500
 12/27/2013       7,500
 12/27/2013       7,500         7,500 01/02/2014
 03/02/2015      15,000        15,000 03/16/2015
 11/19/2013      15,000        15,000 11/27/2013
 08/04/2016      20,000        20,000 08/11/2016
 04/17/2012       7,500         7,500 04/30/2012
 02/07/2012       7,500         7,500 02/29/2012
 02/18/2014       9,500         9,500 02/26/2014
 08/26/2014      67,500        67,500 09/04/2014
 07/09/2013      25,000        25,000 07/15/2013
 09/19/2013      20,000        20,000 10/03/2013
 02/12/2014      20,000        20,000 02/20/2014
 03/05/2013       9,500
 12/16/2014      75,000        75,000 12/24/2014
 12/16/2014       9,500         9,500 12/24/2014
 12/16/2014      13,500        13,500 12/24/2014
 12/18/2014     100,000      100,000 01/07/2015
 02/03/2015       3,500         3,500 02/11/2015
 02/03/2015       5,000         5,000 02/11/2015
 09/04/2012   20,401.22     20,401.22 09/30/2012
 09/11/2012      20,000        20,000 09/30/2012
 12/03/2015     100,000      100,000 12/08/2015
 12/03/2015      18,000        18,000 12/08/2015
 12/22/2015      75,000        75,000 12/31/2015
 12/22/2015      20,000        20,000 12/31/2015
 02/07/2017       5,000         5,000 02/27/2017
 02/07/2017       5,000         5,000 02/27/2017
 02/10/2012      25,000        25,000 02/23/2012
 05/15/2012      25,000        25,000 05/31/2012
 03/05/2013      25,000
 06/17/2014      25,000        25,000 06/27/2014
 04/01/2013      25,000        25,000 04/09/2013
 04/01/2013      25,000        25,000 04/09/2013
 09/10/2013      12,500        12,500 09/23/2013
 04/07/2014      25,000        25,000 04/15/2014
 03/06/2015      25,000        25,000 03/16/2015
 03/06/2015      25,000
 01/14/2016      25,000        25,000 01/21/2016
 01/14/2016      25,000        25,000 01/21/2016
 10/25/2016      27,500
 10/25/2016      27,500
 10/25/2016      27,500        27,500 11/02/2016
 11/30/2016      27,500        27,500 12/08/2016
 06/05/2018      50,000
 01/31/2014      50,000        50,000 02/11/2014
 05/15/2014      20,000        20,000 05/23/2014
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12/16/2014     75,000    75,000    12/24/2014
12/16/2014     60,000    60,000    12/24/2014
06/23/2015     25,000    25,000    07/01/2015
12/16/2014     50,000    50,000    12/24/2014
12/18/2014     20,000    20,000    12/26/2014
11/13/2012     20,000    20,000    11/26/2012
12/03/2015     25,000    25,000    12/11/2015
12/22/2015   120,000    120,000    12/31/2015
05/24/2016     50,000
05/25/2016     50,000    50,000 06/06/2016
05/24/2016     50,000
02/07/2017      7,500      7,500   02/15/2017
02/21/2017      5,000      5,000   03/01/2017
03/05/2013     25,000     25,000   03/15/2013
10/03/2016   8,307.57   8,307.57   10/11/2016
10/03/2016   8,307.57   8,307.57   10/11/2016
02/11/2014     25,000     25,000   02/27/2014
02/14/2012     25,000     25,000   03/31/2012
06/10/2016   4,631.17
07/06/2016   4,631.17   4,631.17 07/15/2016
06/10/2016   4,631.17
01/30/2015     59,997    59,997    02/10/2015
05/14/2015     85,000    85,000    05/28/2015
12/21/2015     68,610    68,610    01/08/2016
04/12/2016     10,000    10,000    05/04/2016
07/18/2016     22,290    22,290    07/29/2016
07/29/2016     13,320    13,320    08/11/2016
09/02/2016     23,500    23,500    09/14/2016
08/11/2017     30,000    30,000    08/23/2017
09/19/2013     53,800    53,800    09/30/2013
01/31/2014     60,000    60,000    02/10/2014
01/31/2014     79,000    79,000    02/10/2014
04/25/2014   237,000    237,000    05/15/2014
12/16/2014     25,000    25,000    01/06/2015
09/11/2012     40,000    40,000    09/30/2012
05/24/2018     10,000
10/22/2015   5,838.34   5,838.34 11/13/2015
10/22/2015   5,838.34
10/22/2015   5,838.34
11/17/2015   1,104.32   1,104.32 12/11/2015
11/19/2015     25,000     25,000 12/11/2015
02/23/2016     24,550     24,550 03/08/2016
11/15/2016     60,000
12/20/2017     60,000
11/15/2016     60,000
02/07/2017     10,000    10,000    02/14/2017
10/10/2017     542.12    542.12    10/17/2017
03/06/2012     25,000    25,000    03/31/2012
04/24/2012     50,000    50,000    05/03/2012
04/28/2015      9,600
05/15/2012     25,000    25,000 05/31/2012
07/09/2013     25,000    25,000 07/19/2013
10/24/2014     36,050
10/24/2014     36,050
10/24/2014     36,050
10/24/2014     36,050
12/28/2015     50,000    50,000 01/05/2016
11/25/2013     17,500
11/25/2013     17,500
11/25/2013     17,500
01/23/2017     20,000
07/31/2013      7,000
06/18/2013     25,000    25,000 06/26/2013
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04/07/2014   25,000   25,000 04/15/2014
05/29/2015    3,000
05/29/2015    3,000
03/13/2015   25,000
09/11/2015   25,000   25,000 09/17/2015
03/13/2015   25,000
07/24/2015   15,000   15,000   07/31/2015
02/05/2016   25,000   25,000   02/16/2016
03/18/2016   25,000   25,000   03/28/2016
04/12/2016   15,000   15,000   04/20/2016
11/30/2016   30,000   30,000   12/08/2016
11/30/2016   15,000   15,000   12/08/2016
03/25/2014    3,500
04/08/2013   50,000   50,000 04/19/2013
04/15/2013   15,000   15,000 04/25/2013
01/31/2014   50,000   50,000 02/11/2014
09/26/2014   15,450
09/26/2014   15,450
09/26/2014   15,450
04/07/2014   10,000   10,000   04/22/2014
05/15/2014   15,000   15,000   05/22/2014
11/06/2014   50,000   50,000   11/14/2014
10/30/2014   25,000   25,000   11/06/2014
11/25/2014   10,000   10,000   12/04/2014
11/25/2014   10,000   10,000   12/04/2014
11/25/2014    3,500    3,500   12/04/2014
11/25/2014    5,000    5,000   12/04/2014
12/16/2014   15,000   15,000   01/16/2015
12/16/2014   49,500   49,500   01/16/2015
12/16/2014    2,500    2,500   01/20/2015
12/16/2014    2,500    2,500   01/20/2015
12/23/2014    5,000    5,000   01/07/2015
02/05/2015   15,000   15,000   02/23/2015
07/02/2015   25,000   25,000   07/14/2015
03/27/2012   15,000   15,000   04/30/2012
04/03/2012   25,000   25,000   04/30/2012
12/03/2015   25,000   25,000   12/22/2015
12/03/2015    5,000    5,000   12/22/2015
12/03/2015   49,500   49,500   12/22/2015
12/03/2015   15,000   15,000   12/22/2015
12/03/2015   25,000   25,000   12/22/2015
12/03/2015   50,000   50,000   12/22/2015
12/03/2015   15,000   15,000   12/22/2015
12/17/2015   15,000   15,000   12/24/2015
12/22/2015   15,000   15,000   12/31/2015
01/17/2017   15,000   15,000   02/01/2017
02/07/2017    7,500    7,500   02/27/2017
01/23/2007      222
07/23/2008    3,500
07/23/2008    3,500
07/23/2008    3,500
01/25/2013      555
12/28/2005    3,666
08/23/2017   20,000
08/23/2017   20,000
08/23/2017   20,000
08/23/2017   20,000
06/22/2012      245
07/21/2016   10,000
10/26/2009    1,085
07/26/2017    3,900
10/26/2009    1,085
10/26/2009    1,085
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12/04/2008      878
12/28/2016    3,900
07/27/2015   14,500
03/23/2011      239
07/26/2017    3,900
10/27/2008      455
06/24/2009    4,000
06/23/2015    7,800
12/04/2008      878
07/19/2016    3,900
07/26/2017    3,900
10/27/2008      455
10/27/2008      455
09/22/2006      432
03/02/2015    7,400
10/23/2007      220
09/22/2006      432
12/22/2005      210
01/28/2013    4,500
12/28/2005    3,666
11/06/2003      205      205   03/12/2004
06/10/2014   25,000   25,000   06/20/2014
10/21/2014    5,000    5,000   10/30/2014
08/25/2015    5,000    5,000   09/02/2015
10/26/2015    7,500    7,500   11/09/2015
12/22/2005      210
06/26/2017   10,000
12/23/2013    3,900
03/23/2017    3,000
09/23/2016    1,190
08/26/2014    7,250
07/23/2013   14,500
10/25/2016   10,000
10/25/2016   10,000
02/04/2014    3,000    3,000   03/17/2014
04/07/2014    5,100    5,100   04/14/2014
08/19/2004      205      205   09/03/2004
01/31/2014   35,000   35,000   03/17/2014
01/31/2014   25,000   25,000   03/17/2014
03/24/2006      630
09/13/2007      222      222   10/03/2007
07/20/2006    3,000    3,000   08/10/2006
09/18/2008      222      222   09/29/2008
03/27/2014   25,000   25,000   06/03/2014
01/21/2011   20,000
01/18/2011   60,000
02/11/2011   20,000   20,000 02/28/2011
01/21/2011   20,000
01/18/2011   60,000
02/11/2011   20,000   20,000 02/28/2011
01/21/2011   20,000
01/18/2011   60,000
01/21/2011   20,000
01/18/2011   60,000
02/11/2011   20,000   20,000 02/28/2011
01/21/2011   20,000
01/18/2011   60,000
01/21/2011   20,000
01/18/2011   60,000
08/21/2012   10,000   10,000   08/31/2012
12/26/2012   10,000   10,000   01/14/2013
02/02/2010   86,100   86,100   02/28/2010
02/23/2010   75,475   75,475   03/31/2010
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04/14/2010       37,000      37,000    04/30/2010
06/30/2010       10,000      10,000    07/31/2010
09/28/2010       10,000      10,000    10/31/2010
08/09/2011        5,000       5,000    08/31/2011
11/22/2011       10,000      10,000    12/31/2011
02/21/2008        2,500       2,500    03/26/2008
07/09/2013       10,000      10,000    07/18/2013
06/19/2012        5,500       5,500    06/30/2012
08/06/2013        5,000       5,000    08/22/2013
02/28/2006          216         216    03/10/2006
05/08/2012        1,500       1,500    05/18/2012
06/04/2013       47,900      47,900    06/12/2013
07/21/2016          435
06/11/2013          275         275    06/18/2013
05/13/2014       30,500      30,500    05/19/2014
05/12/2015        1,995       1,995    05/22/2015
05/12/2015        1,995       1,995    05/22/2015
05/13/2014       30,500      30,500    05/19/2014
05/13/2014       30,500      30,500    05/19/2014
12/17/2015        3,000       3,000    01/08/2016
01/07/2016        3,000
01/07/2016        3,000
05/05/2016        5,985        5,985   06/03/2016
08/23/2016        1,500        1,500   09/01/2016
10/04/2016        1,500        1,500   10/17/2016
02/14/2017        1,995        1,995   03/03/2017
04/11/2017        6,885        6,885   04/21/2017
11/05/2013          700          700   11/13/2013
12/09/2010    16,088.80    16,088.80   12/29/2010
03/01/2018   212,523.43   212,523.43   03/21/2018
04/04/2017        1,000
04/04/2017        1,000
04/07/2017        1,000        1,000   04/24/2017
04/19/2017       912.50       912.50   05/19/2017
04/19/2017       940.09       940.09   05/19/2017
05/17/2017       843.40       843.40   06/01/2017
04/13/2016     8,023.49     8,023.49   05/03/2016
04/13/2016     1,589.98     1,589.98   05/03/2016
04/19/2017   387,842.99   387,842.99   05/03/2017
08/17/2011     1,981.19
08/17/2011     1,981.19
06/24/2015        1,000        1,000   07/10/2015
04/20/2011    45,872.10    45,872.10   05/13/2011
04/20/2011          300          300   05/13/2011
06/27/2012     4,769.60     4,769.60   08/01/2012
08/19/2015   297,346.06   297,346.06   09/15/2015
08/23/2017    73,789.07    73,789.07   09/08/2017
08/17/2016        1,000        1,000   08/31/2016
10/05/2016    31,831.36    31,831.36   10/25/2016
11/18/2015   344,127.42   344,127.42   01/04/2016
02/17/2016     6,227.41     6,227.41   03/07/2016
11/22/2017     192,155      192,155    12/12/2017
10/13/2011     3,726.45
07/22/2010     1,246.25     1,246.25 08/11/2010
01/25/2012     8,207.55
04/11/2012    33,959.25
07/18/2012    36,117.90
10/17/2012    25,517.70
01/30/2013    28,910.70    28,910.70   02/21/2013
04/24/2013    16,122.60    16,122.60   05/14/2013
12/11/2013     7,195.50     7,195.50   01/13/2014
03/07/2012       12,466       12,466   03/30/2012
04/04/2012    10,677.40    10,677.40   04/30/2012
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03/05/2014     4,071.60     4,071.60   04/01/2014
05/07/2014     7,154.55     7,154.55   05/26/2014
06/11/2014     1,386.45     1,386.45   08/06/2014
09/03/2014     2,316.60     2,316.60   09/22/2014
09/10/2014    20,385.30    20,385.30   11/10/2014
09/10/2014        6,400        6,400   10/01/2014
11/19/2014     8,780.85     8,780.85   12/15/2014
04/22/2009     5,533.20     5,533.20   05/19/2009
11/18/2009        3,816        3,816   12/08/2009
02/23/2011     1,921.95     1,921.95   03/14/2011
03/22/2018        2,000        2,000   05/08/2018
11/26/2008    26,521.20    26,521.20   12/16/2008
09/21/2011    33,104.10    33,104.10   10/17/2011
05/04/2011   395,177.68   395,177.68   05/24/2011
05/04/2011   395,177.68   395,177.68   05/24/2011
05/04/2011   395,177.68   395,177.68   05/24/2011
05/04/2011   395,177.68   395,177.68   05/24/2011
05/04/2011   395,177.68   395,177.68   05/24/2011
08/10/2017     6,135.58     6,135.58   09/08/2017
11/22/2017       910.26       910.26   01/12/2018
01/31/2018       871.85       871.85   03/16/2018
05/02/2018       680.07
10/05/2016    27,962.60    27,962.60 10/25/2016
04/19/2017    91,473.51    91,473.51 05/03/2017
04/13/2011        9,900
04/13/2011        9,900
06/29/2011        1,027
10/05/2011     1,100.60
11/29/2011       610.30
11/29/2011       610.30
05/30/2012          700
02/01/2012           90
05/30/2012          700
03/21/2012     1,100.60
10/31/2012        1,027
03/28/2012          200
05/02/2012           90
05/09/2012     1,620.60
08/15/2012     9,433.90
08/15/2012     9,433.90
10/17/2012        8,193
10/17/2012        8,193
10/17/2012        8,193
10/23/2013        7,153        7,153   10/31/2013
10/23/2013        7,153        7,153   10/31/2013
01/23/2013     4,861.80     4,861.80   01/31/2013
01/23/2013     4,861.80     4,861.80   01/31/2013
02/25/2013           90           90   03/08/2013
10/23/2013        7,153        7,153   10/31/2013
04/10/2013     1,100.60     1,100.60   04/19/2013
06/05/2013          200          200   06/14/2013
05/29/2013     4,861.80     4,861.80   06/14/2013
05/29/2013     4,861.80     4,861.80   06/14/2013
12/11/2013           90           90   01/13/2014
10/23/2013        7,153        7,153   10/31/2013
08/21/2013     1,620.60     1,620.60   09/04/2013
08/14/2013     3,241.20     3,241.20   09/04/2013
10/30/2013           90           90   11/12/2013
03/12/2014     3,241.20     3,241.20   03/25/2014
04/13/2016   535,466.83   535,466.83   05/03/2016
04/13/2016   535,466.83   535,466.83   05/03/2016
04/13/2016   535,466.83   535,466.83   05/03/2016
10/05/2016    24,533.23    24,533.23   10/25/2016
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10/05/2016    87,315.90    87,315.90   10/25/2016
11/09/2016   117,825.57   117,825.57   11/30/2016
11/09/2016    28,732.60    28,732.60   11/30/2016
11/09/2016    79,335.62    79,335.62   11/30/2016
02/15/2017          220          220   03/03/2017
11/09/2016       27,090       27,090   11/30/2016
04/05/2017   129,384.43   129,384.43   04/13/2017
04/05/2017    37,794.42    37,794.42   04/13/2017
04/04/2017    73,339.75
04/07/2017    73,339.75    73,339.75 04/13/2017
04/04/2017    73,339.75
04/05/2017    28,955.76    28,955.76   04/13/2017
04/19/2017    78,649.76    78,649.76   05/03/2017
04/19/2017    18,953.73    18,953.73   05/03/2017
04/19/2017    26,556.53    26,556.53   05/03/2017
05/14/2018       56,250
07/08/2014       50,000      50,000    07/14/2014
04/07/2014        5,000       5,000    04/16/2014
12/16/2014       50,000      50,000    12/24/2014
03/13/2012        3,500       3,500    03/31/2012
12/18/2012        5,000       5,000    12/24/2012
01/05/2016       29,400      29,400    01/19/2016
08/02/2016       35,000      35,000    08/19/2016
08/29/2017       87,680      87,680    09/07/2017
07/18/2013        2,000       2,000    07/24/2013
03/19/2013        2,000       2,000    05/01/2013
01/17/2012        2,000       2,000    01/31/2012
06/22/2016       35,000
03/24/2015       15,000      15,000 03/31/2015
04/28/2015       29,695
08/28/2017       35,000
02/07/2012       56,000      56,000    02/29/2012
10/15/2013        5,000       5,000    12/02/2013
03/04/2014       34,650      34,650    03/17/2014
02/25/2014       20,600      20,600    05/01/2014
02/25/2014       20,600      20,600    05/01/2014
11/19/2014       34,650      34,650    12/15/2014
09/25/2014        5,000       5,000    10/21/2014
02/24/2015       25,000
09/08/2015       10,000      10,000 09/21/2015
02/26/2016       25,000      25,000 03/17/2016
04/04/2017       25,000      25,000 04/24/2017
04/22/2014        4,500
05/23/2014        7,580
05/23/2014        7,580
05/23/2014        7,580
05/23/2014        7,580
05/23/2014        7,580
05/23/2014        7,580
05/23/2014        7,580
05/23/2014        7,580
05/23/2014        7,580
09/27/2013        1,710
06/04/2015        7,500       7,500    06/22/2015
12/21/2010        5,000       5,000    01/31/2011
07/26/2011       20,000      20,000    08/31/2011
08/30/2011        7,500       7,500    09/30/2011
08/30/2011        7,500       7,500    09/30/2011
09/07/2010        5,000       5,000    09/30/2010
06/24/2014       14,490      14,490    07/01/2014
02/23/2016       43,495      43,495    02/29/2016
11/15/2016       30,000      30,000    11/22/2016
12/05/2017          350         350    01/11/2018
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04/15/2014      5,000    5,000   04/23/2014
06/27/2013      7,500    7,500   07/03/2013
03/02/2015     60,000   60,000   03/06/2015
01/30/2015     25,000   25,000   02/05/2015
01/30/2015     25,000   25,000   02/05/2015
01/30/2015     30,000   30,000   02/05/2015
04/15/2014      9,500    9,500   04/22/2014
12/21/2015     15,000   15,000   01/07/2016
02/24/2016     40,000   40,000   03/02/2016
05/12/2016     30,000   30,000   05/19/2016
07/29/2016     25,000   25,000   08/08/2016
04/01/2013      2,000    2,000   04/08/2013
04/01/2013     10,000   10,000   04/08/2013
04/01/2013     20,000   20,000   04/08/2013
04/01/2013      7,500    7,500   04/08/2013
06/07/2013     50,000   50,000   06/13/2013
07/15/2013     25,000   25,000   07/19/2013
09/06/2013     25,000   25,000   09/20/2013
01/31/2014     30,000   30,000   02/05/2014
01/31/2014     20,000   20,000   02/05/2014
03/11/2014     50,000   50,000   03/17/2014
03/14/2014     25,000   25,000   03/24/2014
04/01/2014      7,000    7,000   04/08/2014
12/16/2014      9,500    9,500   12/22/2014
12/18/2014     25,000   25,000   01/08/2015
12/18/2014     60,000   60,000   01/08/2015
12/18/2014     30,000   30,000   01/08/2015
07/28/2015      5,000    5,000   08/04/2015
03/20/2012      7,000    7,000   03/31/2012
05/01/2012     40,000   40,000   05/31/2012
12/11/2012      3,000    3,000   12/24/2012
12/03/2015     40,000   40,000   12/08/2015
12/22/2015     40,000   40,000   12/29/2015
12/22/2015     25,000   25,000   12/29/2015
12/22/2015     30,000   30,000   12/29/2015
12/22/2015     60,000   60,000   12/29/2015
12/22/2015     30,000   30,000   12/30/2015
02/07/2017     15,000   15,000   02/13/2017
10/17/2017   1,148.15
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